  Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 1 of 200 PageID 41394
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  Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 2 of 200 PageID 41395
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Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 4 of 200 PageID 41397




                           EXHIBIT 131




                                                                   Appx. 02388
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  Customer Account Number:   AE: PB2       Statement Period: November 01, 2015 to November 30, 2015                                            PAGE 1 of 5

  MARKET INDICES
  Index




                                                                                                             HIGHLAND CAPITAL MANAGEMENT
                                                                                                             SERVICES INC
                                                                                                             ATTN CARTER CHISIM
                                                                                                             300 CRESCEN COURT
                                                                                                             SUITE 700
                                                                                                             DALLAS TX 75201-7849




  ACCOUNT VALUE SUMMARY                                                            DIVIDENDS, INTEREST, AND TAX ACTIVITY SUMMARY
  Description                   As of 10/30/15             This Period             Description                               This Statement    Year to Date




  TOTAL                                                                            TOTAL INCOME




                                                                                   TOTAL EXPENSES


                                  THIS SUMMARY IS FOR INFORMATIONAL PURPOSES ONLY. IT IS NOT INTENDED AS A TAX DOCUMENT.
                                                   THIS STATEMENT SHOULD BE RETAINED FOR YOUR RECORDS.



                                                                                                                                                HCMS000172
                                                                                                                                              Appx. 02389
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  Customer Account Number:   AE: PB2   Statement Period: November 01, 2015 to November 30, 2015                 PAGE 2 of 5




                                                                                                                 HCMS000173
                                                                                                               Appx. 02390
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  Customer Account Number:                    AE: PB2         Statement Period: November 01, 2015 to November 30, 2015                                                       PAGE 3 of 5


  INCOME AND DISTRIBUTION ACTIVITY
                                 Account                                                                                                                               Amount
  Date      Transaction          Type                   Quantity      Description                                                           Rate               Debit              Credit




  11/23     WIRE                 CASH                                 WIRE IN HIGHLAND CAPITAL                                                                                100,000.00
                                                                      AC 43100933
                                                                      TwoFour TradeNumber 301033575




                                                                                                                                              .24




  TOTAL INCOME AND DISTRIBUTION ACTIVITY:


  OTHER ACTIVITY
                                 Account                                                                                                                               Amount
  Date      Transaction          Type                   Quantity      Description                                                                              Debit              Credit




  TOTAL OTHER ACTIVITY:


  PORTFOLIO SUMMARY
  Bond ratings are provided by Moody s and Standard & Poor s, respectively. For more information about bond ratings please contact your financial advisor. Estimated figures shown are
  estimates and actual yield and income may differ.
  EQUITIES - LONG POSITIONS: 91.30% of Portfolio
                                                                                                                                                          Estimated           Estimated
  Account                                                                             Symbol/                        Current             Market               Annual
  Type                Quantity       Description                                      Cusip                            Price              Value              Income                Yield




                                                                                                                                                                            HCMS000174
                                                                                                                                                                          Appx. 02391
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                     Page 8 of 200 PageID 41401




  Customer Account Number:             AE: PB2    Statement Period: November 01, 2015 to November 30, 2015                          PAGE 4 of 5


  EQUITIES - LONG POSITIONS (Continued)
                                                                                                                      Estimated      Estimated
  Account                                                               Symbol/                    Current   Market       Annual
  Type             Quantity   Description                               Cusip                        Price    Value      Income           Yield




                              MARKET VALUE OF EQUITIES - LONG POSITIONS


  MUTUAL FUNDS: 8.60% of Portfolio
                                                                                                                      Estimated      Estimated
  Account                                                               Symbol/                    Current   Market       Annual
  Type             Quantity   Description                               Cusip                        Price    Value      Income           Yield



                              TOTAL - MUTUAL FUNDS




                                                                                                                                     HCMS000175
                                                                                                                                   Appx. 02392
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                          Page 9 of 200 PageID 41402




  Customer Account Number:   AE: PB2   Statement Period: November 01, 2015 to November 30, 2015                 PAGE 5 of 5

 Customer Notice




                                                     *** END OF STATEMENT ***




                                                                                                                 HCMS000176
                                                                                                               Appx. 02393
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                           EXHIBIT 132




                                                                    Appx. 02394
 Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 11 of 200 PageID 41404
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 Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 12 of 200 PageID 41405
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 Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                     Page 13 of 200 PageID 41406
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Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 14 of 200 PageID 41407




                           EXHIBIT 133




                                                                    Appx. 02398
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                                                                         HCMS000072
                                                                   Appx. 02399
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                                                                         HCMS000073
                                                                   Appx. 02400
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 17 of 200 PageID 41410




                                                                         HCMS000074
                                                                   Appx. 02401
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 18 of 200 PageID 41411




                                                                         HCMS000075
                                                                   Appx. 02402
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 19 of 200 PageID 41412




                                                                         HCMS000076
                                                                   Appx. 02403
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 20 of 200 PageID 41413




                                                                         HCMS000077
                                                                   Appx. 02404
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 21 of 200 PageID 41414




                           EXHIBIT 134




                                                                    Appx. 02405
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Page 1 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016                29




          21      HIGHLAND CAPITAL MANAGEMENT LP
                  MASTER OPERATING ACCOUNT
                  300 CRESCENT CT STE 700
                  DALLAS TX 75201-7849




                                                                                 Contacting Us
                                                                                 Available by phone 24/7

                                                                          Phone 1-800-266-7277

                                                                          Online bbvacompass.com

                                                                          Write BBVA Compass
                                                                                Customer Service
                                                                                P.O. Box 10566
                                                                                Birmingham, AL 35296




Summary of Accounts
Deposit Accounts/ Other Products
                                                                             Ending balance     Ending balance
Account                                                 Account number        last statement     this statement


Total Deposit Accounts




                                                                                                                 HCMS000056
                                                                                                           Appx. 02406
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                      Page 23 of 200 PageID 41416


Page 2 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016                          29




TREASURY MANAGEMENT ANALYSIS CHECKING
Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


Activity Summary
Beginning Balance on 2/1/16

Deposits/Credits (145)

Withdrawals/Debits (218)

Ending Balance on 2/29/16



Courtesy Overdraft Amount
Courtesy Overdraft Amount for All Transactions


Any payment of an item into overdraft is completely discretionary. We will charge you an “NSF Charge Paid Item”
fee of $38.00 each time we pay a transaction into overdraft. Also, if your account becomes overdrawn and continues
with a negative balance for ten (10) consecutive calendar days, an extended overdraft fee of $25.00 will be charged.
An additional $25.00 extended overdraft fee will be charged if the ending daily balance in your account remains
negative for twenty (20) consecutive calendar days. The total of the negative balance, including any and all fees and
charges, and including all non-sufficient funds/overdraft fees is due and payable immediately, without demand. If
you would like to opt-out of this Courtesy Overdraft Amount, visit your local Banking Center or call 1-800 Compass.


Deposits and Other Credits
              Check/                                                                                    Deposits/
Date *        Serial #        Description                                                                Credits




                                                                                                                              HCMS000057
                                                                                                                        Appx. 02407
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24           Page 24 of 200 PageID 41417


Page 3 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                           Deposits/
Date *      Serial #    Description                           Credits




                                                                                 HCMS000058
                                                                           Appx. 02408
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24           Page 25 of 200 PageID 41418


Page 4 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                           Deposits/
Date *      Serial #    Description                           Credits




                                                                                 HCMS000059
                                                                           Appx. 02409
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Page 5 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                           Deposits/
Date *      Serial #    Description                           Credits




                                                                                 HCMS000060
                                                                           Appx. 02410
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24           Page 27 of 200 PageID 41420


Page 6 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                           Deposits/
Date *      Serial #    Description                           Credits




                                                                                 HCMS000061
                                                                           Appx. 02411
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24           Page 28 of 200 PageID 41421


Page 7 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                           Deposits/
Date *      Serial #    Description                           Credits




                                                                                 HCMS000062
                                                                           Appx. 02412
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24           Page 29 of 200 PageID 41422


Page 8 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                           Deposits/
Date *      Serial #    Description                           Credits




                                                                                 HCMS000063
                                                                           Appx. 02413
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 30 of 200 PageID 41423


Page 9 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016                                   29




              Check/                                                                                                Deposits/
Date *        Serial #       Description                                                                             Credits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



Withdrawals and Other Debits
              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                    HCMS000064
                                                                                                                                              Appx. 02414
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24           Page 31 of 200 PageID 41424


Page 10 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                                    Withdrawals/
Date *      Serial #    Description                                         Debits




                                                                                    HCMS000065
                                                                              Appx. 02415
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Page 11 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                                    Withdrawals/
Date *      Serial #    Description                                         Debits




                                                                                    HCMS000066
                                                                              Appx. 02416
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                      Page 33 of 200 PageID 41426


Page 12 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016              29




            Check/                                                               Withdrawals/
Date *      Serial #    Description                                                    Debits
2/11                    OUT WT E-ACCESS CSTREP REF                                $250,000.00
                        20160211F2QCZ60C001153 BNF Highland Capital M




                                                                                                HCMS000067
                                                                                          Appx. 02417
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Page 13 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016   29




            Check/                                                    Withdrawals/
Date *      Serial #    Description                                         Debits




                                                                                    HCMS000068
                                                                              Appx. 02418
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Page 14 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016                                   29




              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



End of Business Day Balance Summary
Date                                  Balance      Date                                  Balance      Date                             Balance




Summary of Checks
Date     Check #                      Amount       Date    Check #                       Amount       Date     Check #                 Amount




                                                                                                                                                       HCMS000069
                                                                                                                                                 Appx. 02419
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Page 15 of 16
Primary Account:
Beginning February 1, 2016 - Ending February 29, 2016       29




Date   Check #                  Amount     Date   Check #   Amount   Date   Check #      Amount




* Indicates break in check sequence




                                                                                                        HCMS000070
                                                                                                  Appx. 02420
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Page 16 of 16
Primary Account:            2
Beginning February 1, 2016 - Ending February 29, 2016                            29




How to Balance Your Account                                             Change of Address
                                                                        Please call us at the telephone number listed on the front of this
Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
         card (ATM) transactions in your register.
       • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
         transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                        BBVA Compass Bank, Operations Compliance Support, P.O. Box
       • Record and deduct service charges, check printing
                                                                        10566, Birmingham, AL 35296. Or simply call your local customer
         charges, or other bank fees.                                   service number printed on the front of this statement. Call or write as
       • If you have an interest bearing account, add any               soon as you can, if you think your statement or receipt is wrong or if
         interest earned shown on this statement.                       you need more information about a transfer on the statement or
Step 2 • If applicable, sort checks in numerical order and mark         receipt. We must hear from you no later than 60 days after we sent
         in your register each check or other transaction that is       the first statement on which the error or problem appeared.
         listed on this statement.
Step 3 • List any deposits or credits your have made that do not        • Tell us your name and account number (if any).
         appear on this statement (see space provided below).           • Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                           why you believe it is an error or why you need more information.
Step 4 • List any checks you have written, debit card                   • Tell us the dollar amount of the suspected error.
         transactions, electronic payments and other
         deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
         space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                        credit your account for the amount you think is in error, so that you will have the use of the
                                                                        money during the time it takes us to complete our investigation.

 Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                        Agreement for details regarding Electronic Fund Transfers.
                                                                |       Overdraft Protection
                                                                |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                        computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                        Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                        this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                    Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                        subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                        balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                        the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
 Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                        deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                        posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                        Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                |       Friday, excluding holidays.

                                                                |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                    Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                   $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                        2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
 Balancing Your Register to this Statement                              Compass branch listed on the front of this statement to speak with a Customer Service
                                                                        Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
 Step 5 • Enter the "current balance" shown on this                     We must hear from you no later than sixty (60) days after we sent you the first statement on
          statement                                         |           which the error or problem appeared.

          • Add total from Step 3                           |           · Tell us your name and account number (if any).
          • Subtotal                                        |
                                                                        · Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                           why you believe it is an error or what you need more information.
          • Subtract total from Step 4                      |           · Tell us the dollar amount of the suspected error.
          • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
            balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                        business days before the automatic deduction is scheduled to occur.
           If it does not agree, see steps below       $    |
                                                                        Reporting Other Problems
If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
· Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
· Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
  this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
· Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
  match your register entries.
· If you have questions or need assistance, please refer to the phone   BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
  number on the front of this statement.                                Compass Bank, Member FDIC.




                                                                                                                                                     HCMS000071
                                                                                                                                               Appx. 02421
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                           EXHIBIT 135




                                                                    Appx. 02422
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                      Page 39 of 200 PageID 41432


Page 1 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016       30




           21      HIGHLAND CAPITAL MANAGEMENT LP
                   MASTER OPERATING ACCOUNT
                   300 CRESCENT CT STE 700
                   DALLAS TX 75201-7849




                                                                          Contacting Us
                                                                          Available by phone 24/7
Your BBVA Compass Account(s)                                       Phone 1-800-266-7277

Please see important message regarding your                        Online bbvacompass.com
TREASURY MANAGEMENT ANALYSIS CHECKING                              Write BBVA Compass
account                                                                  Customer Service
                                                                         P.O. Box 10566
                                                                         Birmingham, AL 35296




Summary of Accounts
Deposit Accounts/ Other Products
                                                                      Ending balance     Ending balance
Account                                           Account number       last statement     this statement


Total Deposit Accounts




                                                                                                          HCMS000082
                                                                                                    Appx. 02423
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Page 2 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016                      30




TREASURY MANAGEMENT ANALYSIS CHECKING
Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


Account Information
Change In Terms
Correction: The fee changes and effective date listed on last month's statements were
intended for other account types and are not applicable to your account. Below are the fee
changes that will go into effect July 1, 2016:
Checks Paid/Debits - $0.19; Deposited Items Drawn on BBVA Compass - $0.15; Incoming
Wire - $15.00; Incoming Wire fee with fax/e-mail notification - $16.00; Incoming Wire fee
with phone notification - $18.00; Incoming International wire - $15.75; Manual Outgoing
repetitive wire - $20.00; Manual Outgoing non-repetitive wire - $25.00; Manual Outgoing
repetitive wire fee with notification - $26.00; Outgoing Automatic Standing Transfer -
$9.00; Rerun Deposited Item - $9.00; Return Deposited Item - $12.00. Call Business
Relationship Services with questions regarding these changes.



Activity Summary
Beginning Balance on 4/1/16

Deposits/Credits (53)

Withdrawals/Debits (207)

Ending Balance on 4/30/16



Courtesy Overdraft Amount
Courtesy Overdraft Amount for All Transactions                                                                          $5,000.00


Any payment of an item into overdraft is completely discretionary. We will charge you an “NSF Charge Paid Item”
fee of $38.00 each time we pay a transaction into overdraft. Also, if your account becomes overdrawn and continues
with a negative balance for ten (10) consecutive calendar days, an extended overdraft fee of $25.00 will be charged.
An additional $25.00 extended overdraft fee will be charged if the ending daily balance in your account remains
negative for twenty (20) consecutive calendar days. The total of the negative balance, including any and all fees and
charges, and including all non-sufficient funds/overdraft fees is due and payable immediately, without demand. If
you would like to opt-out of this Courtesy Overdraft Amount, visit your local Banking Center or call 1-800 Compass.


Deposits and Other Credits
              Check/                                                                                    Deposits/
Date *        Serial #        Description                                                                Credits




                                                                                                                                   HCMS000083
                                                                                                                             Appx. 02424
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Page 3 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016   30




             Check/                                    Deposits/
Date *       Serial #     Description                   Credits




                                                                           HCMS000084
                                                                     Appx. 02425
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Page 4 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016   30




             Check/                                    Deposits/
Date *       Serial #     Description                   Credits




                                                                           HCMS000085
                                                                     Appx. 02426
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 43 of 200 PageID 41436


Page 5 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016                             30




              Check/                                                                                                Deposits/
Date *        Serial #       Description                                                                             Credits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



Withdrawals and Other Debits
              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                    HCMS000086
                                                                                                                                              Appx. 02427
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                     Page 44 of 200 PageID 41437


Page 6 of 12
Primary Account:
                             April 30, 2016              30




            Check/                                                               Withdrawals/
Date *      Serial #   Description                                                     Debits




4/5                    OUT WT E-ACCESS CSTREP REF                               $6,000,000.00
                       20160405F2QCZ60C001480 BNF Highland Capital M




                                                                                               HCMS000087
                                                                                         Appx. 02428
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24     Page 45 of 200 PageID 41438


Page 7 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016   30




             Check/                                             Withdrawals/
Date *       Serial #     Description                                 Debits




                                                                              HCMS000088
                                                                        Appx. 02429
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Page 8 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016   30




             Check/                                             Withdrawals/
Date *       Serial #     Description                                 Debits




                                                                              HCMS000089
                                                                        Appx. 02430
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24     Page 47 of 200 PageID 41440


Page 9 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016   30




             Check/                                             Withdrawals/
Date *       Serial #     Description                                 Debits




                                                                              HCMS000090
                                                                        Appx. 02431
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Page 10 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016                             30




              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



End of Business Day Balance Summary
Date                                  Balance      Date                                  Balance      Date                             Balance




Summary of Checks
Date     Check #                      Amount       Date    Check #                       Amount       Date     Check #                 Amount




                                                                                                                                                       HCMS000091
                                                                                                                                                 Appx. 02432
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                    Page 49 of 200 PageID 41442


Page 11 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016               30




Date   Check #                    Amount     Date   Check #        Amount   Date   Check #      Amount




* Indicates break in check sequence




                                                                                                               HCMS000092
                                                                                                         Appx. 02433
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                Page 50 of 200 PageID 41443


Page 12 of 12
Primary Account:
Beginning April 1, 2016 - Ending April 30, 2016                         30




How to Balance Your Account                                                  Change of Address
                                                                             Please call us at the telephone number listed on the front of this
Step 1 • Enter all checks, deposits, and other automated teller              statement to tell us about a change of address.
         card (ATM) transactions in your register.
       • Record all automated deductions, debit card                         Electronic Transfers (for consumer accounts only)
         transactions and electronic bill payments.                          In case of errors or questions about your Electronic Transfers, write to
                                                                             BBVA Compass Bank, Operations Compliance Support, P.O. Box
       • Record and deduct service charges, check printing
                                                                             10566, Birmingham, AL 35296. Or simply call your local customer
         charges, or other bank fees.                                        service number printed on the front of this statement. Call or write as
       • If you have an interest bearing account, add any                    soon as you can, if you think your statement or receipt is wrong or if
         interest earned shown on this statement.                            you need more information about a transfer on the statement or
Step 2 • If applicable, sort checks in numerical order and mark              receipt. We must hear from you no later than 60 days after we sent
         in your register each check or other transaction that is            the first statement on which the error or problem appeared.
         listed on this statement.
Step 3 • List any deposits or credits your have made that do not             • Tell us your name and account number (if any).
         appear on this statement (see space provided below).                • Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or why you need more information.
Step 4 • List any checks you have written, debit card                        • Tell us the dollar amount of the suspected error.
         transactions, electronic payments and other
         deductions that do not appear on this statement (see                We will investigate your complaint and will correct any error promptly. If we take more than 10
         space provided below).                                              business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                             credit your account for the amount you think is in error, so that you will have the use of the
                                                                             money during the time it takes us to complete our investigation.

 Date/Description                                  Amount                    *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                             Agreement for details regarding Electronic Fund Transfers.
                                                                |            Overdraft Protection
                                                                |            Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                             computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                |            which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                             Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                |            the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                             this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                |            “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                    Step 3 Total   $            |            your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                             subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                             balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                             the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
 Date/Description                   Check #        Amount                    Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                             deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                |            cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                             posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                |            posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                |            for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                             Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                |            Friday, excluding holidays.

                                                                |            In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                    Step 4 Total                              If you think your statement is wrong, or if you need more information about a transaction on your
                                                   $            |            statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                             2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
 Balancing Your Register to this Statement                                   Compass branch listed on the front of this statement to speak with a Customer Service
                                                                             Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
 Step 5 • Enter the "current balance" shown on this                          We must hear from you no later than sixty (60) days after we sent you the first statement on
          statement                                         |                which the error or problem appeared.

          • Add total from Step 3                           |                · Tell us your name and account number (if any).
          • Subtotal                                        |
                                                                             · Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or what you need more information.
          • Subtract total from Step 4                      |                · Tell us the dollar amount of the suspected error.
          • This balance should equal your register                          You can stop the automatic deduction of the Minimum Payment from you checking account if
            balance                                         |                you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                             business days before the automatic deduction is scheduled to occur.
           If it does not agree, see steps below       $    |
                                                                             Reporting Other Problems
If your account does not balance, review the following:                      Please review your statement carefully. It is essential that any account errors or any improper
· Check all your addition and subtraction above in your register.            transactions on your account be reported to us as soon as reasonably possible. If you fail to
· Make sure you remembered to subtract service charges listed on             notify us of any suspected problems, errors or unauthorized transactions within the time periods
  this statement and add any interest earned to your register.               specified in the deposit account agreement, we are not liable to you for any loss related to the
· Amounts of deposits and withdrawals on this statement should               problem, error or unauthorized transaction.
  match your register entries.
· If you have questions or need assistance, please refer to the phone        BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
  number on the front of this statement.                                     Compass Bank, Member FDIC.




                                                                                                                                                          HCMS000093
                                                                                                                                                    Appx. 02434
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                           EXHIBIT 136




                                                                    Appx. 02435
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                           EXHIBIT 137




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 Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 56 of 200 PageID 41449
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 Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                     Page 59 of 200 PageID 41452
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                                                                                                                                                           Appx. 02443
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 60 of 200 PageID 41453




                           EXHIBIT 138




                                                                    Appx. 02444
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Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016            31




          21      HIGHLAND CAPITAL MANAGEMENT LP
                  MASTER OPERATING ACCOUNT
                  300 CRESCENT CT STE 700
                  DALLAS TX 75201-7849




                                                                               Contacting Us
                                                                               Available by phone 24/7
Your BBVA Compass Account(s)                                            Phone 1-800-266-7277

Please see important message regarding your                            Online bbvacompass.com
TREASURY MANAGEMENT ANALYSIS CHECKING                                   Write BBVA Compass
account                                                                       Customer Service
                                                                              P.O. Box 10566
                                                                              Birmingham, AL 35296




Summary of Accounts
Deposit Accounts/ Other Products
                                                                           Ending balance     Ending balance
Account                                             Account number          last statement     this statement


Total Deposit Accounts


Coming soon! Save money and go green by offering your customers online bills and payment initiation.
BBVA Compass Electronic Bill Presentment and Payment is the most efficient way to deliver your bills
using your company's webpage and accept payments online or by phone. If customers use their own
banking service to pay bills online, we can help you streamline processing using BBVA Compass
e-Lockbox. Contact your BBVA Compass Treasury Management Officer for more details.




                                                                                                               HCMS000126
                                                                                                         Appx. 02445
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Page 2 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016                31




TREASURY MANAGEMENT ANALYSIS CHECKING
Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


Account Information
As a reminder, on September 23, 2016, the Automated Clearing House (ACH) will begin
supporting interbank same day ACH credit transactions. Interbank same day ACH
origination will be available through BBVA Compass at a later date on an opt-in basis
only. Please contact your Treasury Management Officer for assistance.
To reflect this change for Interbank same day ACH through BBVA Compass, we have
updated Section 3 of ACH Prepaid Services terms and conditions and added Section 18 to
the ACH terms and conditions of our Treasury Management Services Agreement.
Additional terms have also been added to the ACH terms and conditions regarding NOCs
in Section 6, fees for returned and disputed entries in Section 7 and third party processors
in Section 12.
Please review the changes in the Treasury Management Services Agreement and print a
complete copy for your records. You can find a current version of the agreement by going
to:
http://www.bbvacompass.com/commercial/treasury-management/resource-central/
The user ID is "treasury" and the password is "management."



Activity Summary
Beginning Balance on 8/1/16

Deposits/Credits (99)

Withdrawals/Debits (224)

Ending Balance on 8/31/16



Deposits and Other Credits
              Check/                                                             Deposits/
Date *        Serial #        Description                                         Credits




                                                                                                     HCMS000127
                                                                                               Appx. 02446
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Page 3 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016   31




            Check/                                       Deposits/
Date *      Serial #    Description                       Credits




                                                                             HCMS000128
                                                                       Appx. 02447
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Page 4 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016   31




            Check/                                       Deposits/
Date *      Serial #    Description                       Credits




                                                                             HCMS000129
                                                                       Appx. 02448
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Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016   31




            Check/                                       Deposits/
Date *      Serial #    Description                       Credits




                                                                             HCMS000130
                                                                       Appx. 02449
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Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016   31




            Check/                                       Deposits/
Date *      Serial #    Description                       Credits




                                                                             HCMS000131
                                                                       Appx. 02450
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Page 7 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016                                 31




              Check/                                                                                                Deposits/
Date *        Serial #       Description                                                                             Credits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



Withdrawals and Other Debits
              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                    HCMS000132
                                                                                                                                              Appx. 02451
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Page 8 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016              31




            Check/                                                               Withdrawals/
Date *      Serial #    Description                                                    Debits




8/5                     OUT WT E-ACCESS CSTREP REF                                $525,000.00
                        20160805F2QCZ60C000943 BNF Highland Capital M




                        99994




                                                                                                HCMS000133
                                                                                          Appx. 02452
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Page 9 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016   31




            Check/                                                Withdrawals/
Date *      Serial #    Description                                     Debits




                                                                                HCMS000134
                                                                          Appx. 02453
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Page 10 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016   31




            Check/                                                Withdrawals/
Date *      Serial #    Description                                     Debits




                                                                                HCMS000135
                                                                          Appx. 02454
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Page 11 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016   31




            Check/                                                Withdrawals/
Date *      Serial #    Description                                     Debits




                                                                                HCMS000136
                                                                          Appx. 02455
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Page 12 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016                                 31




              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



End of Business Day Balance Summary
Date                                  Balance      Date                                  Balance      Date                             Balance




                                                                                                                                                       HCMS000137
                                                                                                                                                 Appx. 02456
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Page 13 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016             31




Date                            Balance   Date                     Balance   Date                Balance




Summary of Checks
Date   Check #                  Amount    Date      Check #        Amount    Date   Check #      Amount




* Indicates break in check sequence




                                                                                                                 HCMS000138
                                                                                                           Appx. 02457
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Page 14 of 14
Primary Account:
Beginning August 1, 2016 - Ending August 31, 2016                         31




How to Balance Your Account                                             Change of Address
                                                                        Please call us at the telephone number listed on the front of this
Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
         card (ATM) transactions in your register.
       • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
         transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                        BBVA Compass Bank, Operations Compliance Support, P.O. Box
       • Record and deduct service charges, check printing
                                                                        10566, Birmingham, AL 35296. Or simply call your local customer
         charges, or other bank fees.                                   service number printed on the front of this statement. Call or write as
       • If you have an interest bearing account, add any               soon as you can, if you think your statement or receipt is wrong or if
         interest earned shown on this statement.                       you need more information about a transfer on the statement or
Step 2 • If applicable, sort checks in numerical order and mark         receipt. We must hear from you no later than 60 days after we sent
         in your register each check or other transaction that is       the first statement on which the error or problem appeared.
         listed on this statement.
Step 3 • List any deposits or credits your have made that do not        • Tell us your name and account number (if any).
         appear on this statement (see space provided below).           • Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                           why you believe it is an error or why you need more information.
Step 4 • List any checks you have written, debit card                   • Tell us the dollar amount of the suspected error.
         transactions, electronic payments and other
         deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
         space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                        credit your account for the amount you think is in error, so that you will have the use of the
                                                                        money during the time it takes us to complete our investigation.

 Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                        Agreement for details regarding Electronic Fund Transfers.
                                                                |       Overdraft Protection
                                                                |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                        computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                        Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                        this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                    Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                        subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                        balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                        the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
 Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                        deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                        posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                        Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                |       Friday, excluding holidays.

                                                                |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                    Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                   $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                        2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
 Balancing Your Register to this Statement                              Compass branch listed on the front of this statement to speak with a Customer Service
                                                                        Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
 Step 5 • Enter the "current balance" shown on this                     We must hear from you no later than sixty (60) days after we sent you the first statement on
          statement                                         |           which the error or problem appeared.

          • Add total from Step 3                           |           · Tell us your name and account number (if any).
          • Subtotal                                        |
                                                                        · Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                           why you believe it is an error or what you need more information.
          • Subtract total from Step 4                      |           · Tell us the dollar amount of the suspected error.
          • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
            balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                        business days before the automatic deduction is scheduled to occur.
           If it does not agree, see steps below       $    |
                                                                        Reporting Other Problems
If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
· Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
· Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
  this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
· Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
  match your register entries.
· If you have questions or need assistance, please refer to the phone   BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
  number on the front of this statement.                                Compass Bank, Member FDIC.




                                                                                                                                                     HCMS000139
                                                                                                                                               Appx. 02458
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                           EXHIBIT 139




                                                                    Appx. 02459
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5/18/2021                                                                    NexBank SSB




                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                      Date 8/31/16                   Page     1
                                                                                      Primary Account
                                                                                      Enclosures




                                 Highland Capital Management LP
                                 300 Crescent Court Suite 700
                                 Dallas TX 75201




                   NexBank's Privacy Notice, which has not changed, is available on our website
                   at www.NexBank.com/files/privacynotice.pdf. If you would like a copy of our
                   Privacy Notice mailed to you, please call us at 972-934-4700.

                   Checking Account/s

                                  Account Type:      Highland Capital Management LP

                   Analysis Checking w/ Interest
                   Account Number                                           Statement Dates   8/01/16 thru            8/31/16
                   Last Statement Balance                                   Days in the statement period
                      11 Deposits/Credits                                   Average Ledger
                       7 Checks/Debits                                      Average Collected
                   Service Charge                                           Interest Earned
                   Interest Paid                                            Annual Percentage Yield Earned
                   This Statement Balance                                   2016 Interest Paid



                   -----------------------------------------------------------------------------------

                   Deposits and Additions
                   Date      Description                                                     Amount




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2016/2016 HCMLP Bank Statements/NexBank MM 130/08-16 HCM MM NexBank 130.html       1/4


                                                                                                                                    HCMS000140
                                                                                                                              Appx. 02460
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5/18/2021                                                                    NexBank SSB




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                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                      Date 8/31/16                   Page     2
                                                                                      Primary Account
                                                                                      Enclosures




                   Analysis Checking w/ Interest                                        (Continued)

                   Deposits and Additions
                   Date      Description                                                     Amount




                   -----------------------------------------------------------------------------------

                   Checks and Withdrawals
                   Date      Description                                                     Amount




                     8/19         IB Transfer from D ****130 to                         250,000.00-
                                  D ****656




                   -----------------------------------------------------------------------------------

                   Daily Balance Information
                   Date          Balance                 Date              Balance           Date               Balance




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




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                                                                                                                                    HCMS000141
                                                                                                                              Appx. 02461
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5/18/2021                                                                    NexBank SSB




                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                      Date 8/31/16                   Page     3
                                                                                      Primary Account
                                                                                      Enclosures




                   Analysis Checking w/ Interest                            1614130     (Continued)

                   -----------------------------------------------------------------------------------

                                                       Interest Rate Summary
                                                     Date               Rate


                   End of Statement




        MEMBER FDIC                                  NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                             each banking day will be credited as of that date.




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                                                                                                                              Appx. 02462
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5/18/2021                                                                                     NexBank SSB

                                    OUTSTANDING CHECKS                                                              RECONCILIATION INSTRUCTIONS
                  Reconciliation of Account                                                   Date ___________________________
                             CHECKS WRITTEN BUT NOT PAID
                      NUMBER                  AMOUNT                                             Please examine this statement and
                                                                                              items at once and refer any exceptions
                                                                                              immediately.

                                                                                                 Sort your checks numerically or by
                                                                                              date issued.

                                                                                                 Mark off in your checkbook each of
                                                                                              your checks paid by the bank and list the
                                                                                              numbers and amounts of those not paid in
                                                                                              the space provided at the left. Include any
                                                                                              checks still not paid from previous
                                                                                              statements.

                                                                                                 Subtract from your checkbook
                                                                                              balance any SERVICE CHARGE (S.C.) or
                                                                                              bank charge appearing on this statement.

                                                                                                 Reconcile your statement in the
                                                                                              space provided below.



                                                                                              Enter bank balance
                                                                                                from statement
                                                                                                Add deposits not
                                                                                                credited by bank
                                                                                                     (if any)

                                                                                                                        TOTAL
                     Total of Checks                                                            Subtract total of
                         not paid                                                               checks not paid

                                                       THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->


                                 Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable
                                                  Notice: The Annual Percentage Rate and Daily Periodic Rate may vary.

                                          EXPLANATION OF BALANCE ON WHICH THE INTEREST CHARGE IS COMPUTED

        We figure the interest charge on your account by applying the periodic rate to the "daily balance" of your account for each day in the billing cycle. To get the "daily
        balance" we take the beginning balance of your account each day, add any new advances/fees, and subtract any unpaid interest or other finance charges and any
        payments or credits. This gives us the daily balance.


                                              WHAT TO DO IF YOU THINK YOU FIND A MISTAKE ON YOUR STATEMENT
        If you think there is an error on your statement, write to us at:
        NexBank
        2515 McKinney Avenue, 11th Floor
        Dallas, Texas 75201
        You may also contact us on the Web: www.nexbank.com
        In your letter, give us the following information:
                   Account Information: Your name and account number.
                   Dollar Amount: The dollar amount of the suspected error.
                   Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
        You must contact us within 60 days after the error appeared on your statement.
        You must notify us of any potential errors in writing or electronically. You may call us, but if you do we are not required to investigate any potential errors and you
        may have to pay the amount in question.
        While we investigate whether or not there has been an error, the following are true:
                   We cannot try to collect the amount in question, or report you as delinquent on that amount.
                   The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a
                   mistake, you will not have to pay the amount in question or any interest or other fees related to that amount.
                   While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                   We can apply any unpaid amount against your credit limit.
                                          IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
        In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 972.934.4700 or Write us at NexBank, 2515 McKinney Avenue, 11th Floor, Dallas,
        Texas 75201 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt. We
        must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
           (1) Tell us your name and account number (if any).
           (2) Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe it is
           an error or why you need more information.
           (3) Tell us the dollar amount of the suspected error.
           We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for the
        amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.




file:///G:/Accounting/Secured/1. HCMLP/1. Audit/Audit 2016/2016 HCMLP Bank Statements/NexBank MM 130/08-16 HCM MM NexBank 130.html                                                4/4


                                                                                                                                                                  HCMS000143
                                                                                                                                                            Appx. 02463
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 80 of 200 PageID 41473




                           EXHIBIT 140




                                                                    Appx. 02464
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Page 1 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                     H0




          61      I GL I NADC T APGMAN S ADAL dS dDM NP
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Fummary of Account.
Deposit Accounts/ Other Products
                                                                                    d n9ing , alance      d n9ing , alance
Account                                                   Account num, er             la. t . tatement      tpi. . tatement


Total Deposit Accounts                                                                 $315,335.01         $1,090,753.79




                                                                                                                             HCMS000144
                                                                                                                       Appx. 02465
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                 Page 82 of 200 PageID 41475


Page 6 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                      H0




MRd AFUR/ S ADAL d S d DMADAN/ FG
                                F T I d T YG
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Account Dum, er:                    EI G
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Account Information
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Mpe u. er G
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Activity Summary
Beginning Balance on 4h1h1-

Cebo. it. hT re9it. W
                    X- V

K itp9ra) al. hCe, it. W
                       15- V

Ending Balance on 9/30/16



Deposits and Other Credits
               T peckh                                                             Cebo. it. h
Cate *         Ferial #        Ce. cribtion                                         T re9it.




                                                                                                       HCMS000145
                                                                                                 Appx. 02466
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24             Page 83 of 200 PageID 41476


Page Hof 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-   H0




            T peckh                                            Cebo. it. h
Cate *      Ferial #    Ce. cribtion                            T re9it.




                                                                                   HCMS000146
                                                                             Appx. 02467
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24             Page 84 of 200 PageID 41477


Page 8 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-   H0




            T peckh                                            Cebo. it. h
Cate *      Ferial #    Ce. cribtion                            T re9it.




                                                                                   HCMS000147
                                                                             Appx. 02468
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                    Page 85 of 200 PageID 41478


Page X of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                                         H0




               T peckh                                                                                                Cebo. it. h
Cate *         Ferial #      Ce. cribtion                                                                              T re9it.




Plea. e note2certain fee. an9 cparge. bo. te9 to your account may relate to . ervice. an9hor activity from tpe brior . tatement cyclex
* Mpe Cate brovi9e9 i. tpe , u. ine. . 9ay tpat tpe tran. action i. broce. . e9x



Withdrawals and Other Debits
               T peckh                                                                                                                   K itp9ra) al. h
Cate *         Ferial #      Ce. cribtion                                                                                                       Ce, it.




                                                                                                                                                         HCMS000148
                                                                                                                                                   Appx. 02469
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24             Page 86 of 200 PageID 41479


Page - of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-   H0




            T peckh                                                     K itp9ra) al. h
Cate *      Ferial #    Ce. cribtion                                           Ce, it.




                                                                                        HCMS000149
                                                                                  Appx. 02470
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24             Page 87 of 200 PageID 41480


Page 3 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-   H0




            T peckh                                                     K itp9ra) al. h
Cate *      Ferial #    Ce. cribtion                                           Ce, it.




                                                                                        HCMS000150
                                                                                  Appx. 02471
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                   Page 88 of 200 PageID 41481


Page 5 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                         H0




            T peckh                                                                           K itp9ra) al. h
Cate *      Ferial #    Ce. cribtion                                                                 Ce, it.




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                                                                                                              HCMS000151
                                                                                                        Appx. 02472
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24             Page 89 of 200 PageID 41482


Page 4 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-   H0




            T peckh                                                     K itp9ra) al. h
Cate *      Ferial #    Ce. cribtion                                           Ce, it.




                                                                                        HCMS000152
                                                                                  Appx. 02473
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                    Page 90 of 200 PageID 41483


Page 10 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                                         H0




               T peckh                                                                                                                   K itp9ra) al. h
Cate *         Ferial #      Ce. cribtion                                                                                                       Ce, it.




Plea. e note2certain fee. an9 cparge. bo. te9 to your account may relate to . ervice. an9hor activity from tpe brior . tatement cyclex
* Mpe Cate brovi9e9 i. tpe , u. ine. . 9ay tpat tpe tran. action i. broce. . e9x



End of Business Day Balance Summary
Cate                                  Balance      Cate                                   Balance       Cate                              Balance




Summary of Checks
Cate     Tpeck #                       Amount      Cate      Tpeck #                       Amount       Cate     Tpeck #                  Amount




                                                                                                                                                          HCMS000153
                                                                                                                                                    Appx. 02474
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                            Page 91 of 200 PageID 41484


Page 11 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-       H0




Cate   Tpeck #                  Amount    Cate   Tpeck #   Amount   Cate   Tpeck #      Amount


* Indicates break in check sequence




                                                                                                       HCMS000154
                                                                                                 Appx. 02475
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                   Page 92 of 200 PageID 41485


Page 16 of 16
Primary Account:
Beginning Febtem, er 12601- Ed n9ing Febtem, er H02601-                                      H0




How to Balance Your Account                                                  Change of Address
                                                                             Plea. e call u. at tpe telebpone num, er li. te9 on tpe front of tpi.
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 Balancing Your Register to this Statement                                   T omba. . , rancp li. te9 on tpe front of tpi. . tatement to . beak ) itp a T u. tomer Fervice
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                           EXHIBIT 141




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NexBank SSB




                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                        Date 12/30/16                   Page     1
                                                                                        Primary Account
                                                                                        Enclosures



                                 Highland Capital Management LP
                                 300 Crescent Court Suite 700
                                 Dallas TX 75201



                   NexBank's Privacy Notice, which has not changed, is available on our website
                   at www.NexBank.com/files/privacynotice.pdf. If you would like a copy of our
                   Privacy Notice mailed to you, please call us at 972-934-4700.

                   Checking Account/s

                                   Account Type:     Highland Capital Management LP

                   Analysis Checking w/ Interest
                   Account Number                                            Statement Dates 12/01/16 thru 12/31/16
                   Last Statement Balance                                   Days in the statement period
                      14 Deposits/Credits                                   Average Ledger
                      11 Checks/Debits                                      Average Collected
                   Service Charge                                            Interest Earned
                   Interest Paid                                             Annual Percentage Yield Earned
                   This Statement Balance                                   2016 Interest Paid


                   -----------------------------------------------------------------------------------

                   Deposits and Additions
                   Date      Description                                                       Amount




         MEMBER FDIC                                 NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                              each banking day will be credited as of that date.



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                 Dallas, Texas 75201
                 972.934.4700
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                                                                                        Date 12/30/16                   Page     2



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      Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                          Page 95 of 200 PageID 41488
NexBank SSB

                                                                                        Primary Account
                                                                                        Enclosures



                   Analysis Checking w/ Interest                                         (Continued)

                   Deposits and Additions
                   Date      Description                                                       Amount




                   -----------------------------------------------------------------------------------

                   Checks and Withdrawals
                   Date      Description                                                       Amount




                   12/12           IB Transfer from D ****130 to                       7,700,000.00-
                                   D ****656




         MEMBER FDIC                                 NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                             Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                              each banking day will be credited as of that date.



                 2515 McKinney Avenue, 11th Floor
                 Dallas, Texas 75201
                 972.934.4700
                 www.NexBank.com


                                                                                        Date 12/30/16                   Page     3
                                                                                        Primary Account
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                   Analysis Checking w/ Interest                                         (Continued)

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                   Daily Balance Information



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      Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                            Page 96 of 200 PageID 41489
NexBank SSB

                   Date              Balance           Date               Balance                Date                    Balance




                   -----------------------------------------------------------------------------------

                                                      Interest Rate Summary
                                                    Date                Rate


                   End of Statement




         MEMBER FDIC                               NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION
                           Payments received at the address indicated on this statement by 3:00 pm. Central Standard Time
                            each banking day will be credited as of that date.
                                OUTSTANDING CHECKS                                              RECONCILIATION INSTRUCTIONS
                   Reconciliation of Account                               Date ___________________________
                             CHECKS WRITTEN BUT NOT PAID
                       NUMBER                 AMOUNT                           Please examine this statement and
                                                                           items at once and refer any exceptions
                                                                           immediately.

                                                                              Sort your checks numerically or by
                                                                           date issued.

                                                                               Mark off in your checkbook each of
                                                                           your checks paid by the bank and list the
                                                                           numbers and amounts of those not paid in
                                                                           the space provided at the left. Include any
                                                                           checks still not paid from previous
                                                                           statements.

                                                                               Subtract from your checkbook
                                                                           balance any SERVICE CHARGE (S.C.) or
                                                                           bank charge appearing on this statement.

                                                                              Reconcile your statement in the
                                                                           space provided below.



                                                                           Enter bank balance
                                                                             from statement
                                                                            Add deposits not
                                                                            credited by bank
                                                                                 (if any)

                                                                                                   TOTAL




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      Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                  Page 97 of 200 PageID 41490
NexBank SSB


                          Total of Checks                                                        Subtract total of
                              not paid                                                           checks not paid

                                                        THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->

                                   Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable
                                                    Notice: The Annual Percentage Rate and Daily Periodic Rate may vary.
                                             EXPLANATION OF BALANCE ON WHICH THE INTEREST CHARGE IS COMPUTED

              We figure the interest charge on your account by applying the periodic rate to the "daily balance" of your account for each day in the billing cycle. To get the
              "daily balance" we take the beginning balance of your account each day, add any new advances/fees, and subtract any unpaid interest or other finance
              charges and any payments or credits. This gives us the daily balance.

                                                 WHAT TO DO IF YOU THINK YOU FIND A MISTAKE ON YOUR STATEMENT
              If you think there is an error on your statement, write to us at:
              NexBank
              2515 McKinney Avenue, 11th Floor
              Dallas, Texas 75201
              You may also contact us on the Web: www.nexbank.com
              In your letter, give us the following information:
                         Account Information: Your name and account number.
                         Dollar Amount: The dollar amount of the suspected error.
                         Description of Problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
              You must contact us within 60 days after the error appeared on your statement.
              You must notify us of any potential errors in writing or electronically. You may call us, but if you do we are not required to investigate any potential errors
              and you may have to pay the amount in question.
              While we investigate whether or not there has been an error, the following are true:
                         We cannot try to collect the amount in question, or report you as delinquent on that amount.
                         The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we
                         made a mistake, you will not have to pay the amount in question or any interest or other fees related to that amount.
                         While you do not have to pay the amount in question, you are responsible for the remainder of your balance.
                         We can apply any unpaid amount against your credit limit.
                                              IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
              In Case of Errors or Questions About Your Electronic Transfers, Telephone us at 972.934.4700 or Write us at NexBank, 2515 McKinney Avenue, 11th Floor,
              Dallas, Texas 75201 as soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer on the statement
              or receipt. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem appeared.
                  (1) Tell us your name and account number (if any).
                  (2) Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe it is
                  an error or why you need more information.
                  (3) Tell us the dollar amount of the suspected error.
                  We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will credit your account for
              the amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.




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                           EXHIBIT 142




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                            EXHIBIT 143




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Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 107 of 200 PageID 41500




                            EXHIBIT 144




                                                                    Appx. 02491
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                          Page 108 of 200 PageID 41501
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Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                 Page 109 of 200 PageID 41502
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Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                     Page 110 of 200 PageID 41503
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Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 111 of 200 PageID 41504




                            EXHIBIT 145




                                                                    Appx. 02495
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Page 1 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210         61




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Tummary of Account/
Deposit Accounts/ Other Products
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Account                                           Account num4er       8a/ t / tatement    tl i/ / tatement


Total Deposit Accounts




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Page , of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210                        61




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Activity Summary
Beginning Ba8ance on 3p1p10

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Ending Balance on 5/31/19



Deposits and Other Credits
               Dl ecwp                                                         Nevo/ it/ p
Nate “         Teria8”         Ne/ crivtion                                     Dredit/




                                                                                                    HCMS000101
                                                                                              Appx. 02497
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Page 6 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




            Dl ecwp                                  Nevo/ it/ p
Nate “      Teria8”      Ne/ crivtion                 Dredit/




                                                                          HCMS000102
                                                                    Appx. 02498
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Page X of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




            Dl ecwp                                  Nevo/ it/ p
Nate “      Teria8”      Ne/ crivtion                 Dredit/




                                                                          HCMS000103
                                                                    Appx. 02499
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Page 3 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




            Dl ecwp                                  Nevo/ it/ p
Nate “      Teria8”      Ne/ crivtion                 Dredit/




                                                                          HCMS000104
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Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 117 of 200 PageID 41510


Page h of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




            Dl ecwp                                  Nevo/ it/ p
Nate “      Teria8”      Ne/ crivtion                 Dredit/




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                                                                    Appx. 02501
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                    Page 118 of 200 PageID 41511


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Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210                                  61




               Dl ecwp                                                                                                  Nevo/ it/ p
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“ Cl e Nate vro5ided i/ tl e 4u/ ine/ / day tl at tl e tran/ action i/ vroce/ / eds



Withdrawals and Other Debits
               Dl ecwp                                                                                                                     . itl dra) a8/ p
Nate “         Teria8”        Ne/ crivtion                                                                                                         Ne4it/




                                                                                                                                                            HCMS000106
                                                                                                                                                      Appx. 02502
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 119 of 200 PageID 41512


Page 7 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




            Dl ecwp                                            . itl dra) a8/ p
Nate “      Teria8”      Ne/ crivtion                                  Ne4it/




                                                                                HCMS000107
                                                                          Appx. 02503
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 120 of 200 PageID 41513


Page 0 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




            Dl ecwp                                            . itl dra) a8/ p
Nate “      Teria8”      Ne/ crivtion                                  Ne4it/




                                                                                HCMS000108
                                                                          Appx. 02504
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 121 of 200 PageID 41514


Page 12 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210   61




            Dl ecwp                                            . itl dra) a8/ p
Nate “      Teria8”      Ne/ crivtion                                  Ne4it/




                                                                                HCMS000109
                                                                          Appx. 02505
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                              Page 122 of 200 PageID 41515


Page 11 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210                 61




            Dl ecwp                                                                       . itl dra) a8/ p
Nate “      Teria8”      Ne/ crivtion                                                             Ne4it/




3p, 0                    S RC . C EBAL YHL I ME$ , 21023, 0$, k D* h2D22, 1hh             #X22b222s22
                         BL $ 9 igl 8and Davita8F




                                                                                                           HCMS000110
                                                                                                     Appx. 02506
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                    Page 123 of 200 PageID 41516


Page 1, of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210                                  61




               Dl ecwp                                                                                                                     . itl dra) a8/ p
Nate “         Teria8”        Ne/ crivtion                                                                                                         Ne4it/




P8ea/ e notebcertain fee/ and cl arge/ vo/ ted to your account may re8ate to / er5ice/ andpor acti5ity from tl e vrior / tatement cyc8es
“ Cl e Nate vro5ided i/ tl e 4u/ ine/ / day tl at tl e tran/ action i/ vroce/ / eds



End of Business Day Balance Summary
Nate                                   Ba8ance      Nate                                    Ba8ance      Nate                               Ba8ance




Summary of Checks
Nate     Dl ecw”                       Amount       Nate      Dl ecw”                       Amount       Nate     Dl ecw”                   Amount




* Indicates break in check sequence




                                                                                                                                                            HCMS000111
                                                                                                                                                      Appx. 02507
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                         Page 124 of 200 PageID 41517


Page 16 of 16
Primary Account:
Beginning F ay 1b, 210 - Ending F ay 61b, 210                                  61




How to Balance Your Account                                                         Change of Address
                                                                                    P8ea/ e ca88u/ at tl e te8evl one num4er 8i/ ted on tl e front of tl i/
Step 1 • Enter a88cl ecw/ bdevo/ it/ band otl er automated te88er                   / tatement to te88u/ a4out a cl ange of addre/ / s
         card KACF ( tran/ action/ in your regi/ ters
       • Mecord a88automated deduction/ bde4it card                                 Electronic Transfers (for consumer accounts only)
         tran/ action/ and e8ectronic 4i88vayment/ s                                Hn ca/ e of error/ or Que/ tion/ a4out your E8ectronic Cran/ fer/ b) rite to
                                                                                    BBWA Domva/ / BanwbS veration/ Domv8iance TuvvortbPsS sBoV
       • Mecord and deduct / er5ice cl arge/ bcl ecwvrinting
                                                                                    123hhbBirmingl ambAG63, 0hsS r / imv8y ca88your 8oca8cu/ tomer
         cl arge/ bor otl er 4anwfee/ s                                             / er5ice num4er vrinted on tl e front of tl i/ / tatementsDa88or ) rite a/
       • Hf you l a5e an intere/ t 4earing accountbadd any                          / oon a/ you canbif you tl inwyour / tatement or receivt i/ ) rong or if
         intere/ t earned / l o) n on tl i/ / tatements                             you need more information a4out a tran/ fer on tl e / tatement or
Step 2 • Hf avv8ica48eb/ ort cl ecw/ in numerica8order and marw                     receivts. e mu/ t l ear from you no 8ater tl an h2 day/ after ) e / ent
         in your regi/ ter eacl cl ecwor otl er tran/ action tl at i/               tl e fir/ t / tatement on ) l icl tl e error or vro48em avveareds
         8i/ ted on tl i/ / tatements
Step 3 • Gi/ t any devo/ it/ or credit/ your l a5e made tl at do not                Z Ce88u/ your name and account num4er Kif any(s
         avvear on tl i/ / tatement K/ ee / vace vro5ided 4e8o) (s                  Z Ne/ cri4e tl e error or tl e tran/ fer you are un/ ure a4outband eVv8ain a/ c8ear8y a/ you can
                                                                                       ) l y you 4e8ie5e it i/ an error or ) l y you need more informations
Step 4 • Gi/ t any cl ecw/ you l a5e ) rittenbde4it card                            Z Ce88u/ tl e do88ar amount of tl e / u/ vected errors
         tran/ action/ be8ectronic vayment/ and otl er
         deduction/ tl at do not avvear on tl i/ / tatement K/ ee                   . e ) i88in5e/ tigate your comv8aint and ) i88correct any error vromvt8ysHf ) e tawe more tl an 12
         / vace vro5ided 4e8o) (s                                                   4u/ ine/ / day/ K, 2 on c8aim/ on account/ ovened 8e/ / tl an 62 ca8endar day/ ( to do tl i/ b) e ) i88
                                                                                    credit your account for tl e amount you tl inwi/ in errorb/ o tl at you ) i88l a5e tl e u/ e of tl e
                                                                                    money during tl e time it tawe/ u/ to comv8ete our in5e/ tigations

 NatepNe/ crivtion                                   Amount                         “$or L on-Don/ umer Account cu/ tomer/ bv8ea/ e refer to your current L on-Don/ umer Account
                                                                                    Agreement for detai8/ regarding E8ectronic $und Cran/ fer/ s
                                                                    q               Overdraft Protection
                                                                    q               Calculation of Interest Charge and Balance Subject to Interest RatesCl e intere/ t cl arge i/
                                                                                    comvuted u/ ing your annua8vercentage rate di5ided 4y 6h3 orbin tl e ca/ e of a 8eav yearb6hhb
                                                                    q               ) l icl gi5e/ you tl e •Avv8ica48e Mates| A8tl ougl ) e ca8cu8ate tl e intere/ t cl arge 4y avv8ying tl e
                                                                                    Avv8ica48e Mate to eacl dai8y 4a8ancebtl e intere/ t cl arge can a8/ o 4e ca8cu8ated 4y mu8tiv8ying
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                                                                                    tl i/ / tatementbtl en mu8tiv8ying tl at / um 4y tl e num4er of day/ in tl e 4i88ing cyc8esCo get tl e
                                                                    q               •Ba8ance Tu4ject to Hntere/ t Mate| / l o) n on tl i/ / tatement ) e tawe tl e 4eginning 4a8ance of
                                    Ttev 6 Cota8 #                  q               your account 8e/ / any unvaid finance cl arge/ eacl daybadd any ne) ad5ance/ or de4it/ band
                                                                                    / u4tract any vayment/ or credit/ sCl i/ gi5e/ u/ tl e dai8y 4a8ancesCl en ) e add a88tl e dai8y
                                                                                    4a8ance/ for tl e 4i88ing cyc8e and di5ide 4y tl e num4er of day/ in tl e 4i88ing cyc8esCl i/ gi5e u/
                                                                                    tl e •a5erage dai8y 4a8ance| / l o) n on tl e / tatement a/ •Ba8ance Tu4ject to Hntere/ t Mate|s
 NatepNe/ crivtion                   Dl ecw”         Amount                         Payment/ sPayment/ to your o5erdraft vrotection 8oan account made tl rougl our te88er/ or
                                                                                    devo/ ited at our automated te88er macl ine/ KACF / ( F onday tl rougl $riday 4efore tl e vo/ ted
                                                                    q               cut-off time ) i884e vo/ ted to your account on tl e date tl ey are accevtedsS tl er) i/ ebtl ey ) i884e
                                                                                    vo/ ted on tl e neVt 4u/ ine/ / daysPayment/ made tl rougl our ACF / 5ia a fund/ tran/ fer ) i884e
                                                                    q               vo/ ted on tl e date tl ey are recei5ed or on tl e neVt 4u/ ine/ / day if made after hvm DC Khvm F C
                                                                    q               for Arizona account/ and hvm PC for Da8ifornia account/ ( F onday tl rougl $riday or anytime
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                                                                    q               $ridaybeVc8uding l o8iday/ s

                                                                    q               In Case of Errors or Questions About Your Statement KS 5erdraft Protection S n8y(
                                    Ttev X Cota8 #                                   Hf you tl inwyour / tatement i/ ) rongbor if you need more information a4out a tran/ action on your
                                                                    q               / tatementb) rite your i/ / ue on a / evarate document and / end it to Banwcard DenterbPsS sBoV
                                                                                    , , 12bNecaturbAG63h00-2221sCe8evl one inQuire/ may 4e made 4y ca88ing your 8oca8BBWA
 Balancing Your Register to this Statement                                          Domva/ / 4rancl 8i/ ted on tl e front of tl i/ / tatement to / veaw) itl a Du/ tomer Ter5ice
                                                                                    Mevre/ entati5esP8ea/ e note: a te8evl one inQuiry ) i88not vre/ er5e your rigl t/ under federa88a) s
 Step 5 ZEnter tl e "current 4a8ance" / l o) n on tl i/                             . e mu/ t l ear from you no 8ater tl an / iVty Kh2( day/ after ) e / ent you tl e fir/ t / tatement on
         / tatement                                             q                   ) l icl tl e error or vro48em avveareds

           ZAdd tota8from Ttev 6                                q                   · Ce88u/ your name and account num4er Kif any(s
           ZTu4tota8                                            q
                                                                                    · Ne/ cri4e tl e error or tl e tran/ fer you are un/ ure a4outband eVv8ain a/ c8ear8y a/ you can
                                                                                       ) l y you 4e8ie5e it i/ an error or ) l at you need more informations
           ZTu4tract tota8from Ttev X                           q                   · Ce88u/ tl e do88ar amount of tl e / u/ vected errors
           ZCl i/ 4a8ance / l ou8d eQua8your regi/ ter                              x ou can / tov tl e automatic deduction of tl e F inimum Payment from you cl ecwing account if
            4a8ance                                             q                   you tl inwyour / tatement i/ ) rongsCo / tov tl e vaymentbyour 8etter mu/ t reacl u/ tl ree K6(
                                                                                    4u/ ine/ / day/ 4efore tl e automatic deduction i/ / cl edu8ed to occurs
            Hf it doe/ not agreeb/ ee / tev/ 4e8o)       #      q
                                                                                    Reporting Other Problems
Hf your account doe/ not 4a8ancebre5ie) tl e fo88o) ing:                            P8ea/ e re5ie) your / tatement carefu88ysHt i/ e/ / entia8tl at any account error/ or any imvrover
· Dl ecwa88your addition and / u4traction a4o5e in your regi/ ters                  tran/ action/ on your account 4e revorted to u/ a/ / oon a/ rea/ ona48y vo/ / i48esHf you fai8to
· F awe / ure you remem4ered to / u4tract / er5ice cl arge/ 8i/ ted on              notify u/ of any / u/ vected vro48em/ berror/ or unautl orized tran/ action/ ) itl in tl e time veriod/
  tl i/ / tatement and add any intere/ t earned to your regi/ ters                  / vecified in tl e devo/ it account agreementb) e are not 8ia48e to you for any 8o/ / re8ated to tl e
· Amount/ of devo/ it/ and ) itl dra) a8/ on tl i/ / tatement / l ou8d              vro48emberror or unautl orized tran/ actions
  matcl your regi/ ter entrie/ s
· Hf you l a5e Que/ tion/ or need a/ / i/ tancebv8ea/ e refer to tl e vl one        BBWA Domva/ / i/ a trade name of Domva/ / Banwba mem4er of tl e BBWA I rouvs
  num4er on tl e front of tl i/ / tatements                                         Domva/ / BanwbF em4er $NHDs




                                                                                                                                                                     HCMS000112
                                                                                                                                                               Appx. 02508
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 125 of 200 PageID 41518




                            EXHIBIT 146




                                                                    Appx. 02509
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Page 1 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019            30




          21      HIGHLAND CAPITAL MANAGEMENT LP
                  MASTER OPERATING ACCOUNT
                  300 CRESCENT CT STE 700
                  DALLAS TX 75201-7849




                                                                             Contacting Us
                                                                             Available by phone 24/7
Your BBVA Account(s)                                                  Phone 1-800-266-7277

Please see important message regarding your                           Online bbvausa.com
TREASURY MANAGEMENT ANALYSIS CHECKING                                  Write BBVA
account                                                                      Customer Service
                                                                             P.O. Box 10566
                                                                             Birmingham, AL 35296


Summary of Accounts
Deposit Accounts/ Other Products
                                                                         Ending balance     Ending balance
Account                                         Account number            last statement     this statement


Total Deposit Accounts


BBVA Compass is now BBVA. Transforming banking to put the world's opportunities in your hands.




                                                                                                             HCMS000113
                                                                                                       Appx. 02510
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Page 2 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019                    30




TREASURY MANAGEMENT ANALYSIS CHECKING
Account Number:                    - HIGHLAND CAPITAL MANAGEMENT LP


Account Information
We have updated the Treasury Management Service Agreement. These terms and
conditions will become effective as of August 1, 2019. You can find a current version of
the agreement by going to:
http://www.bbvausa.com/commercial/treasury-management/resource-central/
 The user ID is "treasury" and the password is "management."




Activity Summary
Beginning Balance on 6/1/19

Deposits/Credits (26)

Withdrawals/Debits (154)

Ending Balance on 6/30/19



Deposits and Other Credits
              Check/                                                           Deposits/
Date *        Serial #        Description                                       Credits




                                                                                                   HCMS000114
                                                                                             Appx. 02511
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Page 3 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019                                     30




              Check/                                                                                                Deposits/
Date *        Serial #       Description                                                                             Credits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



Withdrawals and Other Debits
              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




                                                                                                                                                    HCMS000115
                                                                                                                                              Appx. 02512
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Page 4 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019   30




            Check/                                             Withdrawals/
Date *      Serial #    Description                                  Debits




                                                                             HCMS000116
                                                                       Appx. 02513
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Page 5 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019   30




            Check/                                             Withdrawals/
Date *      Serial #    Description                                  Debits




                                                                             HCMS000117
                                                                       Appx. 02514
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Page 6 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019   30




            Check/                                             Withdrawals/
Date *      Serial #    Description                                  Debits




                                                                             HCMS000118
                                                                       Appx. 02515
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Page 7 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019             30




            Check/                                                             Withdrawals/
Date *      Serial #    Description                                                  Debits




6/26                    OUT WT EBANKING REF 20190626F2QCZ60C003151             $150,000.00
                        BNF Highland Capital M




                                                                                             HCMS000119
                                                                                       Appx. 02516
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Page 8 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019                                     30




              Check/                                                                                                                  Withdrawals/
Date *        Serial #       Description                                                                                                    Debits




Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
* The Date provided is the business day that the transaction is processed.



End of Business Day Balance Summary
Date                                  Balance      Date                                  Balance      Date                             Balance




Summary of Checks
Date     Check #                      Amount       Date    Check #                       Amount       Date     Check #                 Amount




* Indicates break in check sequence




                                                                                                                                                       HCMS000120
                                                                                                                                                 Appx. 02517
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Page 9 of 9
Primary Account:
Beginning June 1, 2019 - Ending June 30, 2019                              30




How to Balance Your Account                                             Change of Address
                                                                        Please call us at the telephone number listed on the front of this
Step 1 • Enter all checks, deposits, and other automated teller         statement to tell us about a change of address.
         card (ATM) transactions in your register.
       • Record all automated deductions, debit card                    Electronic Transfers (for consumer accounts only)
         transactions and electronic bill payments.                     In case of errors or questions about your Electronic Transfers, write to
                                                                        BBVA, Operations Compliance Support, P.O. Box 10566,
       • Record and deduct service charges, check printing
                                                                        Birmingham, AL 35296. Or simply call your local customer service
         charges, or other bank fees.                                   number printed on the front of this statement. Call or write as soon as
       • If you have an interest bearing account, add any               you can, if you think your statement or receipt is wrong or if you need
         interest earned shown on this statement.                       more information about a transfer on the statement or receipt. We
Step 2 • If applicable, sort checks in numerical order and mark         must hear from you no later than 60 days after we sent the first
         in your register each check or other transaction that is       statement on which the error or problem appeared.
         listed on this statement.
Step 3 • List any deposits or credits your have made that do not        • Tell us your name and account number (if any).
         appear on this statement (see space provided below).           • Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                           why you believe it is an error or why you need more information.
Step 4 • List any checks you have written, debit card                   • Tell us the dollar amount of the suspected error.
         transactions, electronic payments and other
         deductions that do not appear on this statement (see           We will investigate your complaint and will correct any error promptly. If we take more than 10
         space provided below).                                         business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                        credit your account for the amount you think is in error, so that you will have the use of the
                                                                        money during the time it takes us to complete our investigation.

 Date/Description                                  Amount               *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                        Agreement for details regarding Electronic Fund Transfers.
                                                                |       Overdraft Protection
                                                                |       Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                        computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                |       which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                        Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                |       the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                        this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                |       “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                    Step 3 Total   $            |       your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                        subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                        balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                        the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
 Date/Description                   Check #        Amount               Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                        deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                |       cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                        posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                |       posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                |       for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                        Saturday, Sunday or bank holidays. BBVA business days are Monday through Friday, excluding
                                                                |       holidays.

                                                                |       In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                    Step 4 Total                         If you think your statement is wrong, or if you need more information about a transaction on your
                                                   $            |       statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                        2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
 Balancing Your Register to this Statement                              branch listed on the front of this statement to speak with a Customer Service Representative.
                                                                        Please note: a telephone inquiry will not preserve your rights under federal law. We must hear
 Step 5 • Enter the "current balance" shown on this                     from you no later than sixty (60) days after we sent you the first statement on which the error or
          statement                                         |           problem appeared.

          • Add total from Step 3                           |           · Tell us your name and account number (if any).
          • Subtotal                                        |
                                                                        · Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                           why you believe it is an error or what you need more information.
          • Subtract total from Step 4                      |           · Tell us the dollar amount of the suspected error.
          • This balance should equal your register                     You can stop the automatic deduction of the Minimum Payment from you checking account if
            balance                                         |           you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                        business days before the automatic deduction is scheduled to occur.
           If it does not agree, see steps below       $    |
                                                                        Reporting Other Problems
If your account does not balance, review the following:                 Please review your statement carefully. It is essential that any account errors or any improper
· Check all your addition and subtraction above in your register.       transactions on your account be reported to us as soon as reasonably possible. If you fail to
· Make sure you remembered to subtract service charges listed on        notify us of any suspected problems, errors or unauthorized transactions within the time periods
  this statement and add any interest earned to your register.          specified in the deposit account agreement, we are not liable to you for any loss related to the
· Amounts of deposits and withdrawals on this statement should          problem, error or unauthorized transaction.
  match your register entries.
· If you have questions or need assistance, please refer to the phone   BBVA and BBVA Compass are trade names of BBVA USA, a member of the BBVA Group.
  number on the front of this statement.                                BBVA USA, Member FDIC.




                                                                                                                                                     HCMS000121
                                                                                                                                               Appx. 02518
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                            EXHIBIT 147




                                                                    Appx. 02519
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  Page 1 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019       31




            21      HIGHLAND CAPITAL MANAGEMENT LP
                    MASTER OPERATING ACCOUNT
                    300 CRESCENT CT STE 700
                    DALLAS TX 75201-7849




                                                                            Contacting Us
                                                                            Available by phone 24/7

                                                                     Phone 1-800-266-7277

                                                                    Online bbvacompass.com

                                                                     Write BBVA Compass
                                                                           Customer Service
                                                                           P.O. Box 10566
                                                                           Birmingham, AL 35296


  Summary of Accounts
  Deposit Accounts/ Other Products
                                                                        Ending balance     Ending balance
  Account                                       Account number           last statement     this statement
  TREASURY MANAGEMENT ANALYSIS CHECKING                                  $3,117,777.78      $1,004,810.25

  Total Deposit Accounts                                                 $3,117,777.78      $1,004,810.25




                                                                                          Appx. 02520
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 Page 2 of 13
 Primary Account:
                                     May 31, 2019             31




TREASURY MANAGEMENT ANALYSIS CHECKING
Account Number:                     - HIGHLAND CAPITAL MANAGEMENT LP


 Activity Summary
 Beginning Balance on 5/1/19

 Deposits/Credits (97)

 Withdrawals/Debits (176)

 Ending Balance on 5/31/19



 Deposits and Other Credits
               Check/                                                         Deposits/
 Date *        Serial #        Description                                     Credits




                                                                                          Appx. 02521
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  Page 3 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019   31




              Check/                                         Deposits/
  Date *      Serial #    Description                         Credits




                                                                         Appx. 02522
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 139 of 200 PageID 41532
  Page 4 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019   31




              Check/                                         Deposits/
  Date *      Serial #    Description                         Credits




                                                                         Appx. 02523
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 140 of 200 PageID 41533
  Page 5 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019   31




              Check/                                         Deposits/
  Date *      Serial #    Description                         Credits




                                                                         Appx. 02524
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 141 of 200 PageID 41534
  Page 6 of 13
  Primary Account:
  Beginning May 1, 2019 - Ending May 31, 2019   31




              Check/                                         Deposits/
  Date *      Serial #    Description                         Credits




                                                                         Appx. 02525
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                    Page 142 of 200 PageID 41535
 Page 7 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019                                 31




               Check/                                                                                                Deposits/
 Date *        Serial #       Description                                                                             Credits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 Withdrawals and Other Debits
               Check/                                                                                                                     Withdrawals/
 Date *        Serial #       Description                                                                                                       Debits




 5/2                          OUT WT EBANKING REF 20190502F2QCZ60C001496                                                                 $2,400,000.00
                              BNF Highland Capital M




 5/3                          OUT WT EBANKING REF 20190503F2QCZ60C004047                                                                 $5,000,000.00
                              BNF Highland Capital M




                                                                                                                                       Appx. 02526
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 143 of 200 PageID 41536
 Page 8 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                    Withdrawals/
 Date *      Serial #    Description                                         Debits




                                                                    Appx. 02527
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 144 of 200 PageID 41537
 Page 9 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                    Withdrawals/
 Date *      Serial #    Description                                         Debits




                                                                    Appx. 02528
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 145 of 200 PageID 41538
 Page 10 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                    Withdrawals/
 Date *      Serial #    Description                                         Debits




                                                                    Appx. 02529
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 146 of 200 PageID 41539
 Page 11 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019   31




             Check/                                                    Withdrawals/
 Date *      Serial #    Description                                         Debits




                                                                    Appx. 02530
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                    Page 147 of 200 PageID 41540




 Page 12 of 13
 Primary Account:
 Beginning May 1, 2019 - Ending May 31, 2019                                 31




               Check/                                                                                                                    Withdrawals/
 Date *        Serial #       Description                                                                                                      Debits




 Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.
 * The Date provided is the business day that the transaction is processed.



 End of Business Day Balance Summary
 Date                                  Balance      Date                                  Balance      Date                               Balance




 Summary of Checks
 Date     Check #                      Amount      Date     Check #                       Amount       Date    Check #                    Amount




 * Indicates break in check sequence




                                                                                                                                       Appx. 02531
        Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                    Page 148 of 200 PageID 41541

Page 13 of 13
Primary Account:
Beginning May 1, 2019 - Ending May 31, 2019                             31




How to Balance Your Account                                                  Change of Address
                                                                             Please call us at the telephone number listed on the front of this
Step 1 • Enter all checks, deposits, and other automated teller              statement to tell us about a change of address.
         card (ATM) transactions in your register.
       • Record all automated deductions, debit card                         Electronic Transfers (for consumer accounts only)
         transactions and electronic bill payments.                          In case of errors or questions about your Electronic Transfers, write to
                                                                             BBVA Compass Bank, Operations Compliance Support, P.O. Box
       • Record and deduct service charges, check printing
                                                                             10566, Birmingham, AL 35296. Or simply call your local customer
         charges, or other bank fees.                                        service number printed on the front of this statement. Call or write as
       • If you have an interest bearing account, add any                    soon as you can, if you think your statement or receipt is wrong or if
         interest earned shown on this statement.                            you need more information about a transfer on the statement or
Step 2 • If applicable, sort checks in numerical order and mark              receipt. We must hear from you no later than 60 days after we sent
         in your register each check or other transaction that is            the first statement on which the error or problem appeared.
         listed on this statement.
Step 3 • List any deposits or credits your have made that do not             • Tell us your name and account number (if any).
         appear on this statement (see space provided below).                • Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or why you need more information.
Step 4 • List any checks you have written, debit card                        • Tell us the dollar amount of the suspected error.
         transactions, electronic payments and other
         deductions that do not appear on this statement (see                We will investigate your complaint and will correct any error promptly. If we take more than 10
         space provided below).                                              business days (20 on claims on accounts opened less than 30 calendar days) to do this, we will
                                                                             credit your account for the amount you think is in error, so that you will have the use of the
                                                                             money during the time it takes us to complete our investigation.

 Date/Description                                  Amount                    *For Non-Consumer Account customers, please refer to your current Non-Consumer Account
                                                                             Agreement for details regarding Electronic Fund Transfers.
                                                                |            Overdraft Protection
                                                                |            Calculation of Interest Charge and Balance Subject to Interest Rate. The interest charge is
                                                                             computed using your annual percentage rate divided by 365 or, in the case of a leap year, 366,
                                                                |            which gives you the “Applicable Rate.” Although we calculate the interest charge by applying the
                                                                             Applicable Rate to each daily balance, the interest charge can also be calculated by multiplying
                                                                |            the Applicable Rate by the “average daily balance”(Balance Subject to Interest Rate) shown on
                                                                             this statement, then multiplying that sum by the number of days in the billing cycle. To get the
                                                                |            “Balance Subject to Interest Rate” shown on this statement we take the beginning balance of
                                    Step 3 Total   $            |            your account less any unpaid finance charges each day, add any new advances or debits, and
                                                                             subtract any payments or credits. This gives us the daily balance. Then we add all the daily
                                                                             balances for the billing cycle and divide by the number of days in the billing cycle. This give us
                                                                             the “average daily balance” shown on the statement as “Balance Subject to Interest Rate”.
 Date/Description                   Check #        Amount                    Payments. Payments to your overdraft protection loan account made through our tellers or
                                                                             deposited at our automated teller machines (ATM s) Monday through Friday before the posted
                                                                |            cut-off time will be posted to your account on the date they are accepted. Otherwise, they will be
                                                                             posted on the next business day. Payments made through our ATM s via a funds transfer will be
                                                                |            posted on the date they are received or on the next business day if made after 6pm CT (6pm MT
                                                                |            for Arizona accounts and 6pm PT for California accounts) Monday through Friday or anytime
                                                                             Saturday, Sunday or bank holidays. BBVA Compass Bank business days are Monday through
                                                                |            Friday, excluding holidays.

                                                                |            In Case of Errors or Questions About Your Statement (Overdraft Protection Only)
                                                                              If you think your statement is wrong, or if you need more information about a transaction on your
                                    Step 4 Total   $            |            statement, write your issue on a separate document and send it to Bankcard Center, P.O. Box
                                                                             2210, Decatur, AL 35699-0001. Telephone inquires may be made by calling your local BBVA
 Balancing Your Register to this Statement                                   Compass branch listed on the front of this statement to speak with a Customer Service
                                                                             Representative. Please note: a telephone inquiry will not preserve your rights under federal law.
 Step 5 • Enter the "current balance" shown on this                          We must hear from you no later than sixty (60) days after we sent you the first statement on
          statement                                         |                which the error or problem appeared.

          • Add total from Step 3                           |                · Tell us your name and account number (if any).
          • Subtotal                                        |
                                                                             · Describe the error or the transfer you are unsure about, and explain as clearly as you can
                                                                                why you believe it is an error or what you need more information.
          • Subtract total from Step 4                      |                · Tell us the dollar amount of the suspected error.
          • This balance should equal your register                          You can stop the automatic deduction of the Minimum Payment from you checking account if
            balance                                         |                you think your statement is wrong. To stop the payment, your letter must reach us three (3)
                                                                             business days before the automatic deduction is scheduled to occur.
           If it does not agree, see steps below       $    |
                                                                             Reporting Other Problems
If your account does not balance, review the following:                      Please review your statement carefully. It is essential that any account errors or any improper
· Check all your addition and subtraction above in your register.            transactions on your account be reported to us as soon as reasonably possible. If you fail to
· Make sure you remembered to subtract service charges listed on             notify us of any suspected problems, errors or unauthorized transactions within the time periods
  this statement and add any interest earned to your register.               specified in the deposit account agreement, we are not liable to you for any loss related to the
· Amounts of deposits and withdrawals on this statement should               problem, error or unauthorized transaction.
  match your register entries.
· If you have questions or need assistance, please refer to the phone        BBVA Compass is a trade name of Compass Bank, a member of the BBVA Group.
  number on the front of this statement.                                     Compass Bank, Member FDIC.


                                                                                                                                                  Appx. 02532
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 149 of 200 PageID 41542




                            EXHIBIT 148




                                                                    Appx. 02533
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        NexBank SSB                                                                                    Page 1 of 3




                13455 NOEL ROAD, 22nd Floor
                DALLAS, TEXAS 75240
                972-934-4700
                www.NexBank.com




                           HIGHLAND CAPITAL MANAGEMENT LP               Date 11/29/13           Page    1
                           300 CRESCENT COURT SUITE 700                 Account Number
                           DALLAS TX 75201                              Enclosures




                                                ---- CHECKING ACCOUNT ----

                        For 24-hour service please
                        call our telephone banking
                        number 877-538-BANK (2265)
                 BUSINESS ANALYSIS W/ INTEREST                Item Truncation
                 Account Number                               Statement Dates 11/01/13 thru 11/30/13
                 Previous Balance                             Days in the statement period
                  5 Deposits/Credits                          Average Ledger
                  3 Checks/Debits                             Average Collected
                 Service Charge
                 Interest Paid
                 Ending Balance                               2013 Interest Paid

                 Deposits and Additions
                      Date   Description                                       Amount




                 Checks and Withdrawals
                      Date   Description                                       Amount


                        11/27      WIRE TRANSFER                          100,000.00
                                   CHICAGO TITLE CO.




          MEMBER FDIC                         NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION




      https://nbdtx.secure.fundsxpress.com/piles/fxweb.pile/accounts/get_statement?_request_id... 2/12/2014
CONFIDENTIAL                                                                                       D-HCRE-000114
                                                                                               Appx. 02534
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        NexBank SSB                                                                                     Page 2 of 3




                13455 NOEL ROAD, 22nd Floor
                DALLAS, TEXAS 75240
                972-934-4700
                www.NexBank.com




                           HIGHLAND CAPITAL MANAGEMENT LP               Date 11/29/13            Page     2
                           300 CRESCENT COURT SUITE 700                 Account Number
                           DALLAS TX 75201                              Enclosures




                 BUSINESS ANALYSIS W/ INTEREST                                   (Continued)
                 Checks and Withdrawals
                      Date   Description                                       Amount



                 Daily Balance Information
                   Date       Balance                Date         Balance            Date       Balance



                                                   Interest Rate Summary




          MEMBER FDIC                         NOTICE: SEE LAST PAGE FOR IMPORTANT INFORMATION




      https://nbdtx.secure.fundsxpress.com/piles/fxweb.pile/accounts/get_statement?_request_id... 2/12/2014
CONFIDENTIAL                                                                                       D-HCRE-000115
                                                                                               Appx. 02535
    Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                    Page 152 of 200 PageID 41545
        NexBank SSB                                                                                                                                              Page 3 of 3



                                      OUTSTANDING CHECKS                                                               RECONCILIATION INSTRUCTIONS

                    Reconciliation of Account                                                                   Date ___________________________
                               CHECKS WRITTEN BUT NOT PAID
                        NUMBER                  AMOUNT                                                              Please examine this statement and
                                                                                                                items at once and refer any exceptions
                                                                                                                             immediately.

                                                                                                                      Sort your checks numerically or by
                                                                                                                                date issued.

                                                                                                                    Mark off in your checkbook each of
                                                                                                                your checks paid by the bank and list the
                                                                                                               numbers and amounts of those not paid in
                                                                                                               the space provided at the left. Include any
                                                                                                                   checks still not paid from previous
                                                                                                                               statements.

                                                                                                                      Subtract from your checkbook
                                                                                                               balance any SERVICE CHARGE (S.C.) or
                                                                                                               bank charge appearing on this statement.

                                                                                                                       Reconcile your statement in the
                                                                                                                         space provided below.



                                                                                                 Enter bank balance
                                                                                                   from statement
                                                                                                  Add deposits not
                                                                                                  credited by bank
                                                                                                       (if any)

                                                                                                                           TOTAL

                       Total of Checks                                                            Subtract total of
                          not paid                                                                checks not paid

                                                         THIS AMOUNT SHOULD EQUAL YOUR CHECKBOOK BALANCE->


                                   Any Charge for Imprinted Checks Includes State Sales Tax Computed at the Current Rate, When Applicable

                                               EXPLANATION OF BALANCE ON WHICH FINANCE CHARGE IS COMPUTED

               We calculate the FINANCE CHARGE on your account by multiplying the daily balance of your account, including current transactions, by the daily periodic rate
          each day during the billing cycle. This gives us a daily finance charge. Then we add together each daily finance charge to derive a total FINANCE CHARGE for the
          billing cycle. To get the daily balance on which each daily finance charge is computed, we take the beginning balance of your account each day, add any new
          advances and subtract any payments or credits and unpaid finance charges.
               The “average daily balance” shown on the front of this statement is for purposes of illustration only. To validate the amount of your finance charge, multiply the
          number of days in the billing cycle by the average daily balance shown, then multiply the product by the daily periodic rate.
               *Note: If the statement closing date falls on a Friday or on any business day immediately prior to a non-business day, the number of days in the billing cycle will
          include the subsequent number of non-business days until the next business day,and the finance charge will continue to accrue. However, the number of days in
          the next billing cycle will not include any days included in the prior cycle.

                                                                             BILLING RIGHTS SUMMARY
          In Case of Errors or Questions About Your Account Statement
          If you think your statement is wrong, or if you need more information about a transaction on your statement, write us on a separate sheet at the address shown on
          the face of this statement as soon as possible. We must hear from you no later than 60 days after we sent you the FIRST statement on which the error or problem
          appeared. You can telephone us, but doing so will not preserve your rights.
          In your letter, give us the following information.
              1. Your name and account number.
              2. The dollar amount of the suspected error.
              3. Describe the error and explain, if you can, why you believe there is an error. If you need more information,
              describe the item you are unsure about.
          You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your statement that are not in question.
          While we investigate your question, we cannot report you as delinquent or take action to collect the amount you question.
                                             IN CASE OF ERROR OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS
          If you need more information about an electronic transfer appearing on this statement, or if you think your statement or receipt is wrong, please telephone or write
          us as soon as possible at the phone number or address designated on the front of this statement. We must hear from you no later than 60 days after we sent you
          the FIRST statement on which the error or problem appeared.
              1. Tell us your name and account number (if any).
              2. Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is
              an error or why you need more information.
              3. Tell us the dollar amount of the suspected error.
              We will investigate your complaint and will correct any error promptly. If we take more than 10 business days to do this, we will recredit your account for the
          amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation.
              If you would like to confirm that an automatic deposit to your account has been made as scheduled, you may call us during normal business hours at the phone
          number designated on the front of this statement.




      https://nbdtx.secure.fundsxpress.com/piles/fxweb.pile/accounts/get_statement?_request_id... 2/12/2014
CONFIDENTIAL                                                                                       D-HCRE-000116
                                                                                               Appx. 02536
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                            EXHIBIT 149




                                                                    Appx. 02537
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   Page 1 of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                d1




             ,1     3 HI 3 GAL N DAPHCAG T AL AI - T - L C GP
                    T AMC- S RP- SACHL I ADDRUL C
                    d22 DS- MD- L C DC MC- 722
                    NAGGAM CX 78, 2157409




                                                                                   Contacting Us
                                                                                   Availaple py h/ one , 067
                                                                           P/ one 154225, ss57, 77
                                                                           Rnline ppvacomha. . W
                                                                                               com
                                                                           V rite BBx A Domha. .
                                                                                  Du. tomer Mervice
                                                                                  PWRWBoY 128ss
                                                                                  Birming/ ambAGd8, 9s




   Mummary of Account.
   Deposit Accounts/ Other Products
                                                                              - nEing palance      - nEing palance
   Account                                               Account numper         la. t . tatement     t/ i. . tatement


   Total Deposit Accounts




CONFIDENTIAL                                                                                                       D-HCRE-000100
                                                                                                                Appx. 02538
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                     Page 155 of 200 PageID 41548


   Page , of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                               d1




   CS- AMUSK T AL AI - T - L C AL AGKMHM D3 - D( HL I
   Account L umper:                      53 HI 3 GAL N DAPHCAGT AL AI - T - L C GP


   Activity Summary
   Beginning Balance on 161610

   Neho. it. 6DreEit. )d1w

   V it/ Erak al. 6Nepit. )10, w

   Ending Balance on 1/31/14



   Transaction History )eYcluEing c/ ec*. w
                   D/ ec* 6                                                               Neho. it. 6   V it/ Erak al. 6
   Nate #          Merial F        Ne. crihtion                                             DreEit.             Nepit.




   169                             RUC V C - 5ADD- MM S- Q , 2102129Q, Z D$s2D221794                    J122b222W
                                                                                                                22
                                   BL Q RlE Sehuplic L atio




CONFIDENTIAL                                                                                                          D-HCRE-000101
                                                                                                                   Appx. 02539
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24         Page 156 of 200 PageID 41549


   Page d of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210   d1




              D/ ec* 6                                        Neho. it. 6   V it/ Erak al. 6
   Nate #     Merial F    Ne. crihtion                          DreEit.             Nepit.




CONFIDENTIAL                                                                              D-HCRE-000102
                                                                                       Appx. 02540
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   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210   d1




              D/ ec* 6                                        Neho. it. 6   V it/ Erak al. 6
   Nate #     Merial F    Ne. crihtion                          DreEit.             Nepit.




CONFIDENTIAL                                                                              D-HCRE-000103
                                                                                       Appx. 02541
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   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                                         d1




                  D/ ec* 6                                                                                                  Neho. it. 6       V it/ Erak al. 6
   Nate #         Merial F       Ne. crihtion                                                                                 DreEit.                 Nepit.




   Plea. e notebcertain fee. anE c/ arge. ho. teE to your account may relate to . ervice. anE6or activity from t/ e hrior . tatement cycleW
   #C/ e Nate hroviEeE i. t/ e pu. ine. . Eay t/ at t/ e tran. action i. hroce. . eEW


   End of Business Day Balance Summary
   Nate                                   Balance       Nate                                   Balance        Nate                             Balance




   Summary of Checks
   Nate     D/ ec* F                      Amount        Nate     D/ ec* F                       Amount       Nate      D/ ec* F                 Amount




CONFIDENTIAL                                                                                                                                                D-HCRE-000104
                                                                                                                                                         Appx. 02542
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   Page s of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210       d1




   Nate   D/ ec* F               Amount    Nate   D/ ec* F   Amount   Nate   D/ ec* F     Amount




   * Indicates break in check sequence




CONFIDENTIAL                                                                                          D-HCRE-000105
                                                                                                   Appx. 02543
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   Page 7 of 7
   Primary Account:
   Beginning Oanuary 1b, 210 5- nEing Oanuary d1b, 210                                     d1




   How to Balance Your Account                                                    Change of Address
                                                                                  Plea. e call u. at t/ e teleh/ one numper li. teE on t/ e front of t/ i.
   Step 1 • - nter all c/ ec* . bEeho. it. banE ot/ er automateE teller           . tatement to tell u. apout a c/ ange of aEEre. . W
            carE )ACT wtran. action. in your regi. terW
          • SecorE all automateE EeEuction. bEepit carE                           Electronic Transfers (for consumer accounts only)
            tran. action. anE electronic pill hayment. W                          Hn ca. e of error. or que. tion. apout your - lectronic Cran. fer. bk rite to
                                                                                  BBx A Domha. . Ban*bRheration. Domhliance MuhhortbPW            RWBoY
          • SecorE anE EeEuct . ervice c/ arge. bc/ ec* hrinting
                                                                                  128ssbBirming/ ambAGd8, 9sWRr . imhly call your local cu. tomer
            c/ arge. bor ot/ er pan* fee. W                                       . ervice numper hrinteE on t/ e front of t/ i. . tatementWDall or k rite a.
          • Hf you / ave an intere. t pearing accountbaEE any                     . oon a. you canbif you t/ in* your . tatement or receiht i. k rong or if
            intere. t earneE . / ok n on t/ i. . tatementW                        you neeE more information apout a tran. fer on t/ e . tatement or
   Step 2 • Hf ahhlicapleb. ort c/ ec* . in numerical orEer anE mar*              receihtWV e mu. t / ear from you no later t/ an s2 Eay. after k e . ent
            in your regi. ter eac/ c/ ec* or ot/ er tran. action t/ at i.         t/ e fir. t . tatement on k / ic/ t/ e error or hroplem ahheareEW
            li. teE on t/ i. . tatementW
   Step 3 • Gi. t any Eeho. it. or creEit. your / ave maEe t/ at Eo not           • Cell u. your name anE account numper )if anywW
            ahhear on t/ i. . tatement ). ee . hace hroviEeE pelok wW             • Ne. cripe t/ e error or t/ e tran. fer you are un. ure apoutbanE eYhlain a. clearly a. you can
                                                                                     k / y you pelieve it i. an error or k / y you neeE more informationW
   Step 4 • Gi. t any c/ ec* . you / ave k rittenbEepit carE                      • Cell u. t/ e Eollar amount of t/ e . u. hecteE errorW
            tran. action. belectronic hayment. anE ot/ er
            EeEuction. t/ at Eo not ahhear on t/ i. . tatement ). ee              V e k ill inve. tigate your comhlaint anE k ill correct any error hromhtlyWHf k e ta* e more t/ an 12
            . hace hroviEeE pelok wW                                              pu. ine. . Eay. ), 2 on claim. on account. oheneE le. . t/ an d2 calenEar Eay. wto Eo t/ i. bk e k ill
                                                                                  creEit your account for t/ e amount you t/ in* i. in errorb. o t/ at you k ill / ave t/ e u. e of t/ e
                                                                                  money Euring t/ e time it ta* e. u. to comhlete our inve. tigationW

    Nate6Ne. crihtion                                   Amount                    #Qor L on5Don. umer Account cu. tomer. bhlea. e refer to your current L on5Don. umer Account
                                                                                  Agreement for Eetail. regarEing - lectronic QunE Cran. fer. W
                                                                       |          Overdraft Protection
                                                                       |          Calculation of Interest Charge and Balance Subject to Interest RateWC/ e intere. t c/ arge i.
                                                                                  comhuteE u. ing your annual hercentage rate EiviEeE py ds8 orbin t/ e ca. e of a leah yearbdssb
                                                                       |          k / ic/ give. you t/ e “Ahhlicaple SateW   ” Alt/ oug/ k e calculate t/ e intere. t c/ arge py ahhlying t/ e
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                            EXHIBIT 150




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                            EXHIBIT 151




                                                                    Appx. 02549
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                        Page 166 of 200 PageID 41559


   Page 1 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-                H1




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                    CANNAS M3 67201E6X- 5




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                                                                               PsOsBoV 107hh
                                                                               Birmingbam, ANH725h




   Summary of Account/
   Deposit Accounts/ Other Products
                                                                           d n9ing va4ance      d n9ing va4ance
   Account                                            Account numver         4a/ t / tatement     tbi/ / tatement


   Total Deposit Accounts




CONFIDENTIAL                                                                                                    D-HCRE-000107
                                                                                                             Appx. 02550
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   Page 2 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-       H1




   MRd ASURx F ADAL d F d DMADANx SGS T I d T YG
                                               DL
   Account Dumver:


   Activity Summary
   Beginning Ba4ance on Hp1p1-

   Cel o/ it/ pTre9it/ K11(

   . itb9ra) a4/ pCevit/ K1X2(                        -

   Ending Balance on 1/13/34



   Transaction History KeVc4u9ing cbecw/ (
                   T becwp                                     Cel o/ it/ p   . itb9ra) a4/ p
   Cate “          Seria4”       Ce/ cril tion                   T re9it/            Cevit/




CONFIDENTIAL                                                                               D-HCRE-000108
                                                                                        Appx. 02551
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   Page H of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-   H1




              T becwp                                      Cel o/ it/ p   . itb9ra) a4/ p
   Cate “     Seria4”     Ce/ cril tion                      T re9it/            Cevit/




CONFIDENTIAL                                                                           D-HCRE-000109
                                                                                    Appx. 02552
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   Page - of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-              H1




              T becwp                                                    Cel o/ it/ p   . itb9ra) a4/ p
   Cate “     Seria4”     Ce/ cril tion                                    T re9it/            Cevit/




   Hp2X                   OUM. MdEATTdSS Rd$ 201- 0H2X$2k T* h0T00H02-                    #70,000s00
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CONFIDENTIAL                                                                                         D-HCRE-000110
                                                                                                  Appx. 02553
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                        Page 170 of 200 PageID 41563


   Page 7 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-                                              H1




                  T becwp                                                                                                     Cel o/ it/ p     . itb9ra) a4/ p
   Cate “         Seria4”         Ce/ cril tion                                                                                 T re9it/              Cevit/




   P4ea/ e note, certain fee/ an9 cbarge/ l o/ te9 to your account may re4ate to / er8ice/ an9por acti8ity from tbe l rior / tatement cyc4es
   “ Mbe Cate l ro8i9e9 i/ tbe vu/ ine/ / 9ay tbat tbe tran/ action i/ l roce/ / e9s


   End of Business Day Balance Summary
   Cate                                    Ba4ance       Cate                                    Ba4ance       Cate                             Ba4ance




   Summary of Checks
   Cate     T becw”                        Amount        Cate     T becw”                        Amount        Cate      T becw”                Amount




CONFIDENTIAL                                                                                                                                                 D-HCRE-000111
                                                                                                                                                          Appx. 02554
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   Page h of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-             H1




   Cate   T becw”                Amount     Cate      T becw”   Amount   Cate   T becw”      Amount




   * Indicates break in check sequence




CONFIDENTIAL                                                                                             D-HCRE-000112
                                                                                                      Appx. 02555
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                   Page 172 of 200 PageID 41565


   Page 6 of 6
   Primary Account:
   Beginning F arcb 1, 201- Edn9ing F arcb H1, 201-                                        H1




   How to Balance Your Account                                                    Change of Address
                                                                                  P4ea/ e ca44u/ at tbe te4el bone numver 4i/ te9 on tbe front of tbi/
   Step 3 • d nter a44cbecw/ , 9el o/ it/ , an9 otber automate9 te44er            / tatement to te44u/ avout a cbange of a99re/ / s
            car9 KAMF ( tran/ action/ in your regi/ ters
          • Recor9 a44automate9 9e9uction/ , 9evit car9                           Electronic Transfers (for consumer accounts only)
            tran/ action/ an9 e4ectronic vi44l ayment/ s                          Gn ca/ e of error/ or Que/ tion/ avout your d 4ectronic Mran/ fer/ , ) rite to
                                                                                  BBWA Toml a/ / Banw, Ol eration/ Toml 4iance Sul l ort, PsOsBoV
          • Recor9 an9 9e9uct / er8ice cbarge/ , cbecwl rinting
                                                                                  107hh, Birmingbam, AN H725hsOr / iml 4y ca44your 4oca4cu/ tomer
            cbarge/ , or otber vanwfee/ s                                         / er8ice numver l rinte9 on tbe front of tbi/ / tatementsTa44or ) rite a/
          • Gf you ba8e an intere/ t vearing account, a99 any                     / oon a/ you can, if you tbinwyour / tatement or receil t i/ ) rong or if
            intere/ t earne9 / bo) n on tbi/ / tatements                          you nee9 more information avout a tran/ fer on tbe / tatement or
   Step 2 • Gf al l 4icav4e, / ort cbecw/ in numerica4or9er an9 marw              receil ts. e mu/ t bear from you no 4ater tban h0 9ay/ after ) e / ent
            in your regi/ ter eacb cbecwor otber tran/ action tbat i/             tbe fir/ t / tatement on ) bicb tbe error or l rov4em al l eare9s
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   Step 1 • Ni/ t any 9el o/ it/ or cre9it/ your ba8e ma9e tbat 9o not            Z Me44u/ your name an9 account numver Kif any(s
            al l ear on tbi/ / tatement K/ ee / l ace l ro8i9e9 ve4o) (s          Z Ce/ crive tbe error or tbe tran/ fer you are un/ ure avout, an9 eVl 4ain a/ c4ear4y a/ you can
                                                                                     ) by you ve4ie8e it i/ an error or ) by you nee9 more informations
   Step 4 • Ni/ t any cbecw/ you ba8e ) ritten, 9evit car9                        Z Me44u/ tbe 9o44ar amount of tbe / u/ l ecte9 errors
            tran/ action/ , e4ectronic l ayment/ an9 otber
            9e9uction/ tbat 9o not al l ear on tbi/ / tatement K/ ee              . e ) i44in8e/ tigate your coml 4aint an9 ) i44correct any error l roml t4ys G
                                                                                                                                                               f ) e tawe more tban 10
            / l ace l ro8i9e9 ve4o) (s                                            vu/ ine/ / 9ay/ K20 on c4aim/ on account/ ol ene9 4e/ / tban H0 ca4en9ar 9ay/ ( to 9o tbi/ , ) e ) i44
                                                                                  cre9it your account for tbe amount you tbinwi/ in error, / o tbat you ) i44ba8e tbe u/ e of tbe
                                                                                  money 9uring tbe time it tawe/ u/ to coml 4ete our in8e/ tigations

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                                                                       q          Overdraft Protection
                                                                       q          Calculation of Interest Charge and Balance Subject to Interest RatesMbe intere/ t cbarge i/
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                                                                       q          ) bicb gi8e/ you tbe •Al l 4icav4e Rates| A4tbougb ) e ca4cu4ate tbe intere/ t cbarge vy al l 4ying tbe
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              ZSuvtota4                                            q
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                            EXHIBIT 152




                                                                    Appx. 02557
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                Page 174 of 200 PageID 41567
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   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                Page 175 of 200 PageID 41568
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          $0"9'+9,+)$9-)09&)9!+9'&9jh9(-"9,+999"&9-)09'9f7329"$&9)&99'%*'9'9++)+9)+9.+)2!$9..+(/
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          99999&9++)+9)+99'-9-)09&(9$)+9%&,)+$%)&/
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CONFIDENTIAL                                                                                                                                                    D-HCRE-000065
                                                                                                                                                             Appx. 02560
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 177 of 200 PageID 41570




                            EXHIBIT 153




                                                                    Appx. 02561
    Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                      Page 178 of 200 PageID 41571
        Compass e-Access                                                                                                                          Page 1 of 6



         ERD Report Filename - 7202015121002782.TXT
         Batch # - 2015121002782                                                            CLOSE
         Printed on May 04, 2015 at 08:02 AM

         1
         +@ Primary Account:
           Page 1 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015



                    HIGHLAND CAPITAL MANAGEMENT LP
                    MASTER OPERATING ACCOUNT
                    300 CRESCENT CT STE 700
                    DALLAS TX 75201-7849




                                                                                                      Contacting Us
                                                                                                      ________________________________________

                                                                                               Phone: 1-800-266-7277

          S u m m a r y     o f    A c c o u n t s

          Deposit Accounts/Other Products
                                                                                                       Ending balance           Ending balance
          Account                                            Account number                            last statement           this statement
          ====================================================================================================================================


           Total Deposit Accounts
         1
         +@ Primary Account:
           Page 2 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          T R E A S U R Y   M A N A G E M E N T   A N A L Y S I S   C H E C K I N G
          Account Number: 0025876342 - HIGHLAND CAPITAL MANAGEMENT LP


          Activity Summary
          ==========================================
          Beginning Balance on 4/1/15
          Deposits/Credits (33)
          Withdrawals/Debits (189)
          __________________________________________
          Ending Balance on 4/30/15


          Deposits and Other Credits

                                                                                                             Deposits/
          Date*   Serial#    Description                                                                       Credits
          ====================================================================================================================================




           ____________________________________________________________________________________________________________________________________
         1
         +@ Primary Account:
           Page 3 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Deposits and Other Credits - continued




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                      5/4/2015
CONFIDENTIAL                                                                                                                                    D-HCRE-000066
                                                                                                                                             Appx. 02562
    Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                      Page 179 of 200 PageID 41572
        Compass e-Access                                                                                                                         Page 2 of 6



                                                                                                             Deposits/
          Date*   Serial#    Description                                                                       Credits
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                                                                                                                                         _____
         1
         +@ Primary Account:
           Page 4 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Deposits and Other Credits - continued

                                                                                                             Deposits/
          Date*   Serial#    Description                                                                       Credits
          ====================================================================================================================================


          ____________________________________________________________________________________________________________________________________

          *The Date provided is the business day that the transaction is processed.

          Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.


          Withdrawals and Other Debits

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




                                                                                                                                    $1,042.30




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000067
                                                                                                                                            Appx. 02563
    Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                      Page 180 of 200 PageID 41573
        Compass e-Access                                                                                                                          Page 3 of 6



                             Doughert
          ____________________________________________________________________________________________________________________________________




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         1
         +@ Primary Account:
           Page 5 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




          ____________________________________________________________________________________________________________________________________
          4/2                OUT WT E-ACCESS REF 20150402F2QCZ60C002636 BNF HCRE                                                 $1,500,000.00
                             Partners, LLC
          ____________________________________________________________________________________________________________________________________




           ____________________________________________________________________________________________________________________________________
         1
         +@ Primary Account:
           Page 6 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




          ____________________________________________________________________________________________________________________________________




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                      5/4/2015
CONFIDENTIAL                                                                                                                                    D-HCRE-000068
                                                                                                                                             Appx. 02564
    Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                      Page 181 of 200 PageID 41574
        Compass e-Access                                                                                                                         Page 4 of 6




         1
         +@ Primary Account:
           Page 7 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




                                                                                                                                         _____
         1
         +@ Primary Account:
           Page 8 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Withdrawals and Other Debits - continued

                                                                                                                                  Withdrawals/
          Date*   Serial#    Description                                                                                                Debits
          ====================================================================================================================================




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000069
                                                                                                                                            Appx. 02565
    Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                      Page 182 of 200 PageID 41575
        Compass e-Access                                                                                                                         Page 5 of 6



                             Shawn Raver
          ____________________________________________________________________________________________________________________________________




          ____________________________________________________________________________________________________________________________________

          *The Date provided is the business day that the transaction is processed.

          Please note, certain fees and charges posted to your account may relate to services and/or activity from the prior statement cycle.


          End of Business Day Balance Summary

          Date                               Balance   Date                               Balance   Date                               Balance
          ==========================================   ==========================================   ==========================================




         1
         +@ Primary Account:
           Page 9 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015



          Summary of Checks

          Date       Check#                   Amount   Date       Check#                   Amount   Date       Check#                   Amount
          ==========================================   ==========================================   ==========================================
          4/10        15325                  $271.03   4/14        15475*               $2,992.50   4/2         15484*               $1,900.50




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000070
                                                                                                                                            Appx. 02566
    Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                      Page 183 of 200 PageID 41576
        Compass e-Access                                                                                                                         Page 6 of 6



          __________________________________________   __________________________________________   __________________________________________


         1
         +@ Primary Account:
           Page 10 of 10
           Primary Account:
           Beginning April 1, 2015 - Ending April 30, 2015


          Summary of Checks - continued

          Date       Check#                   Amount   Date       Check#                   Amount   Date       Check#                   Amount
          ==========================================   ==========================================   ==========================================
          4/21        15624                $6,500.00   4/23        15625                  $550.00   4/21        15626                $3,157.38




          * Indicates break in check sequence




      https://e-access.compassbank.com/bbw/erd/erdrpts/erdreport.cfm?pos=1                                                                     5/4/2015
CONFIDENTIAL                                                                                                                                   D-HCRE-000071
                                                                                                                                            Appx. 02567
Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24   Page 184 of 200 PageID 41577




                            EXHIBIT 154




                                                                    Appx. 02568
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                              Page 185 of 200 PageID 41578


   Page 1 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                 91




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                                                                                     Contacting Us
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   Deposit Accounts/ Other Products
                                                                                 Eudrug Fa4auAe       Eudrug Fa4auAe
   y AAocun                                               y AAocunuci Fe6         4a/ n/ nanei eun     nl r/ / nanei eun


   Total Deposit Accounts




CONFIDENTIAL                                                                                                          D-HCRE-000080
                                                                                                                   Appx. 02569
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                               Page 186 of 200 PageID 41579


   Page , of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                        91




   TREy SORx My Ny GEMENT y Ny Lx SIS CHECYING
   y AAocunNci Fe6t                    - HIGHLy ND Cy PITy L My Ny GEMENT LP


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   Devo/ rn/ pC6edrn/ K3h(

   . rnl d6a) a4/ pDeFrn/ K177(

   y nding Salance on EB/4E/E3                                   0



   Deposits and Other Credits
                  Cl eAwp                                                           Devo/ rn/ p
   Dane “         Se6ra4”         De/ A6rvnrou                                       C6edrn/




CONFIDENTIAL                                                                                          D-HCRE-000081
                                                                                                   Appx. 02570
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24          Page 187 of 200 PageID 41580


   Page 9 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                         Devo/ rn/ p
   Dane “      Se6ra4”      De/ A6rvnrou                        C6edrn/




CONFIDENTIAL                                                                     D-HCRE-000082
                                                                              Appx. 02571
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24          Page 188 of 200 PageID 41581


   Page X of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                         Devo/ rn/ p
   Dane “      Se6ra4”      De/ A6rvnrou                        C6edrn/




CONFIDENTIAL                                                                     D-HCRE-000083
                                                                              Appx. 02572
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                Page 189 of 200 PageID 41582


   Page 3 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                                    91




                 Cl eAwp                                                                                               Devo/ rn/ p
   Dane “        Se6ra4”        De/ A6rvnrou                                                                            C6edrn/




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   “ Tl e Dane v6o8rded r/ nl e Fc/ rue/ / damnl annl e n6au/ aAnrou r/ v6oAe/ / eds



   1 ithdra6 als and Other DeWits
                 Cl eAwp                                                                                                                 . rnl d6a) a4/ p
   Dane “        Se6ra4”        De/ A6rvnrou                                                                                                     DeFrn/




                                                                                                                                              $, 9, s07




CONFIDENTIAL                                                                                                                                           D-HCRE-000084
                                                                                                                                                    Appx. 02573
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24          Page 190 of 200 PageID 41583


   Page h of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                   . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                         DeFrn/




CONFIDENTIAL                                                                           D-HCRE-000085
                                                                                    Appx. 02574
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                            Page 191 of 200 PageID 41584


   Page 0 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                    91




               Cl eAwp                                                                     . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                                           DeFrn/


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CONFIDENTIAL                                                                                             D-HCRE-000086
                                                                                                      Appx. 02575
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24          Page 192 of 200 PageID 41585


   Page 7 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                   . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                         DeFrn/




CONFIDENTIAL                                                                           D-HCRE-000087
                                                                                    Appx. 02576
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24          Page 193 of 200 PageID 41586


   Page 5 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210   91




               Cl eAwp                                                   . rnl d6a) a4/ p
   Dane “      Se6ra4”      De/ A6rvnrou                                         DeFrn/




CONFIDENTIAL                                                                           D-HCRE-000088
                                                                                    Appx. 02577
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                Page 194 of 200 PageID 41587


   Page 12 of 11
   P6ri a6my AAocunt
   : egruurug B AnoFe61b, 210 - Eudrug B AnoFe691b, 210                                    91




                 Cl eAwp                                                                                                                 . rnl d6a) a4/ p
   Dane “        Se6ra4”        De/ A6rvnrou                                                                                                     DeFrn/




   P4ea/ e uonebAe6naru fee/ aud Al a6ge/ vo/ ned no moc6aAAocuni am6e4ane no / e68rAe/ audpo6aAnr8rnmf6oi nl e v6ro6/ nanei eunAmA4es
   “ Tl e Dane v6o8rded r/ nl e Fc/ rue/ / damnl annl e n6au/ aAnrou r/ v6oAe/ / eds



   y nd owSusiness Daf Salance muv v arf
   Dane                                  : a4auAe    Dane                                  : a4auAe     Dane                              : a4auAe




   muv v arf owChecbs
   Dane     Cl eAw”                      y i ocun    Dane     Cl eAw”                       y i ocun    Dane     Cl eAw”                  y i ocun




   * Indicates break in check sequence




CONFIDENTIAL                                                                                                                                            D-HCRE-000089
                                                                                                                                                     Appx. 02578
   Case 3:21-cv-00881-X Document 178-3 Filed 01/09/24                                                                 Page 195 of 200 PageID 41588


   Page 11 of 11
   P6ri a6my AAocunt
                                               B AnoFe691b, 210                          91




   k o6 to Salance Hour Account                                                 Change owAddress
                                                                                P4ea/ e Aa44c/ annl e ne4evl oue uci Fe64r/ ned ou nl e f6ounof nl r/
   mtep E Y Eune6a44Al eAw/ bdevo/ rn/ baud onl e6acnoi aned ne44e6             / nanei eunno ne44c/ aFocna Al auge of add6e/ / s
            Aa6d Ky TM( n6au/ aAnrou/ ru moc66egr/ ne6s
          Y ReAo6d a44acnoi aned dedcAnrou/ bdeFrnAa6d                          y lectronic Transwers (for consumer accounts only)
            n6au/ aAnrou/ aud e4eAn6ourAFr44vami eun/ s                         Iu Aa/ e of e66o6/ o6Qce/ nrou/ aFocnmoc6E4eAn6ourA T6au/ fe6/ b) 6rne no
                                                                                : : Wy Coi va/ / : auwbB ve6anrou/ Coi v4rauAe Scvvo6nbPsB s: oV
          Y ReAo6d aud dedcAn/ e68rAe Al a6ge/ bAl eAwv6runrug
                                                                                123hhb: r6i rugl ai by L 93, 5hsB 6/ ri v4mAa44moc64oAa4Ac/ noi e6
            Al a6ge/ bo6onl e6Fauwfee/ s                                        / e68rAe uci Fe6v6runed ou nl e f6ounof nl r/ / nanei eunsCa44o6) 6rne a/
          Y If moc l a8e au rune6e/ nFea6rug aAAocunbadd aum                    / oou a/ moc Aaubrf moc nl ruwmoc6/ nanei euno66eAervnr/ ) 6oug o6rf
            rune6e/ nea6ued / l o) u ou nl r/ / nanei euns                      moc ueed i o6e rufo6i anrou aFocna n6au/ fe6ou nl e / nanei euno6
   mtep • Y If avv4rAaF4eb/ o6nAl eAw/ ru uci e6rAa4o6de6aud i a6w              6eAervns. e i c/ nl ea6f6oi moc uo 4ane6nl au h2 dam/ afne6) e / eun
            ru moc66egr/ ne6eaAl Al eAwo6onl e6n6au/ aAnrou nl anr/             nl e fr6/ n/ nanei eunou ) l rAl nl e e66o6o6v6oF4ei avvea6eds
            4r/ ned ou nl r/ / nanei euns
   mtep 4 Y Lr/ naumdevo/ rn/ o6A6edrn/ moc6l a8e i ade nl ando uon             Z Te44c/ moc6uai e aud aAAocunuci Fe6Krf aum(s
            avvea6ou nl r/ / nanei eunK/ ee / vaAe v6o8rded Fe4o) (s            Z De/ A6rFe nl e e66o6o6nl e n6au/ fe6moc a6e cu/ c6e aFocnbaud eVv4aru a/ A4ea64ma/ moc Aau
                                                                                   ) l mmoc Fe4re8e rnr/ au e66o6o6) l mmoc ueed i o6e rufo6i anrous
   mtep 0 Y Lr/ naumAl eAw/ moc l a8e ) 6rnneubdeFrnAa6d                        Z Te44c/ nl e do44a6ai ocunof nl e / c/ veAned e66o6s
            n6au/ aAnrou/ be4eAn6ourAvami eun/ aud onl e6
            dedcAnrou/ nl ando uonavvea6ou nl r/ / nanei eunK/ ee               . e ) r44ru8e/ nrgane moc6Aoi v4arunaud ) r44Ao66eAnaume66o6v6oi vn4msIf ) e nawe i o6e nl au 12
            / vaAe v6o8rded Fe4o) (s                                            Fc/ rue/ / dam/ K, 2 ou A4ari / ou aAAocun/ oveued 4e/ / nl au 92 Aa4euda6dam/ ( no do nl r/ b) e ) r44
                                                                                A6edrnmoc6aAAocunfo6nl e ai ocunmoc nl ruwr/ ru e66o6b/ o nl anmoc ) r44l a8e nl e c/ e of nl e
                                                                                i ouemdc6rug nl e nri e rnnawe/ c/ no Aoi v4ene oc6ru8e/ nrganrous

    DanepDe/ A6rvnrou                                 y i ocun                  “k o6Nou-Cou/ ci e6y AAocunAc/ noi e6/ bv4ea/ e 6efe6no moc6Ac66eunNou-Cou/ ci e6y AAocun
                                                                                y g6eei eunfo6denar4/ 6ega6drug E4eAn6ourA k cud T6au/ fe6/ s
                                                                     q          OI erdrawt Protection
                                                                     q          Calculation ow2nterest Charge and Salance muWject to 2nterest RatesTl e rune6e/ nAl a6ge r/
                                                                                Aoi vcned c/ rug moc6auuca4ve6Aeunage 6ane dr8rded Fm9h3 o6bru nl e Aa/ e of a 4eav mea6b9hhb
                                                                     q          ) l rAl gr8e/ moc nl e •y vv4rAaF4e Ranes| y 4nl ocgl ) e Aa4Ac4ane nl e rune6e/ nAl a6ge Fmavv4mrug nl e
                                                                                y vv4rAaF4e Rane no eaAl dar4mFa4auAebnl e rune6e/ nAl a6ge Aau a4/ o Fe Aa4Ac4aned Fmi c4nrv4mrug
                                                                     q          nl e y vv4rAaF4e Rane Fmnl e •a8e6age dar4mFa4auAe|K: a4auAe ScFjeAnno Iune6e/ nRane( / l o) u ou
                                                                                nl r/ / nanei eunbnl eu i c4nrv4mrug nl an/ ci Fmnl e uci Fe6of dam/ ru nl e Fr44rug AmA4esTo gennl e
                                                                     q          •: a4auAe ScFjeAnno Iune6e/ nRane| / l o) u ou nl r/ / nanei eun) e nawe nl e Fegruurug Fa4auAe of
                                       Snev 9 Tona4 $                q          moc6aAAocun4e/ / aumcuvard fruauAe Al a6ge/ eaAl dambadd aumue) ad8auAe/ o6deFrn/ baud
                                                                                / cFn6aAnaumvami eun/ o6A6edrn/ sTl r/ gr8e/ c/ nl e dar4mFa4auAesTl eu ) e add a44nl e dar4m
                                                                                Fa4auAe/ fo6nl e Fr44rug AmA4e aud dr8rde Fmnl e uci Fe6of dam/ ru nl e Fr44rug AmA4esTl r/ gr8e c/
                                                                                nl e •a8e6age dar4mFa4auAe| / l o) u ou nl e / nanei euna/ •: a4auAe ScFjeAnno Iune6e/ nRane|s
    DanepDe/ A6rvnrou                  Cl eAw”        y i ocun                  Pami eun/ sPami eun/ no moc6o8e6d6afnv6oneAnrou 4oau aAAocuni ade nl 6ocgl oc6ne44e6/ o6
                                                                                devo/ rned anoc6acnoi aned ne44e6i aAl rue/ Ky TM / ( Moudamnl 6ocgl k 6rdamFefo6e nl e vo/ ned
                                                                     q          Acn-off nri e ) r44Fe vo/ ned no moc6aAAocunou nl e dane nl ema6e aAAevnedsB nl e6) r/ ebnl em) r44Fe
                                                                                vo/ ned ou nl e ueVnFc/ rue/ / damsPami eun/ i ade nl 6ocgl oc6y TM / 8ra a fcud/ n6au/ fe6) r44Fe
                                                                     q          vo/ ned ou nl e dane nl ema6e 6eAer8ed o6ou nl e ueVnFc/ rue/ / damrf i ade afne6hvi CT Khvi MT
                                                                     q          fo6y 6rzoua aAAocun/ aud hvi PT fo6Ca4rfo6ura aAAocun/ ( Moudamnl 6ocgl k 6rdamo6aumnri e
                                                                                Sanc6dambScudamo6Fauwl o4rdam/ s: : Wy Coi va/ / : auwFc/ rue/ / dam/ a6e Moudamnl 6ocgl
                                                                     q          k 6rdambeVA4cdrug l o4rdam/ s

                                                                     q          2n Case owy rrors or Questions AWout Hour mtatev ent KB 8e6d6afnP6oneAnrou B u4m(
                                       Snev X Tona4 $                            If moc nl ruwmoc6/ nanei eunr/ ) 6ougbo6rf moc ueed i o6e rufo6i anrou aFocna n6au/ aAnrou ou moc6
                                                                     q          / nanei eunb) 6rne moc6r/ / ce ou a / eva6ane doAci eunaud / eud rnno : auwAa6d Ceune6bPsB s: oV
                                                                                , , 12bDeAanc6by L 93h55-2221sTe4evl oue ruQcr6e/ i amFe i ade FmAa44rug moc64oAa4: : Wy
    Salancing Hour Register to this mtatev ent                                  Coi va/ / F6auAl 4r/ ned ou nl e f6ounof nl r/ / nanei eunno / veaw) rnl a Cc/ noi e6Se68rAe
                                                                                Rev6e/ eunanr8esP4ea/ e uonet a ne4evl oue ruQcr6m) r44uonv6e/ e68e moc66rgl n/ cude6fede6a44a) s
    mtep 5 ZEune6nl e "Ac66eunFa4auAe" / l o) u ou nl r/                        . e i c/ nl ea6f6oi moc uo 4ane6nl au / rVnmKh2( dam/ afne6) e / eunmoc nl e fr6/ n/ nanei eunou
            / nanei eun                                          q              ) l rAl nl e e66o6o6v6oF4ei avvea6eds

             Zy dd nona4f6oi Snev 9                              q              · Te44c/ moc6uai e aud aAAocunuci Fe6Krf aum(s
             ZScFnona4                                           q
                                                                                · De/ A6rFe nl e e66o6o6nl e n6au/ fe6moc a6e cu/ c6e aFocnbaud eVv4aru a/ A4ea64ma/ moc Aau
                                                                                   ) l mmoc Fe4re8e rnr/ au e66o6o6) l anmoc ueed i o6e rufo6i anrous
             ZScFn6aAnnona4f6oi Snev X                           q              · Te44c/ nl e do44a6ai ocunof nl e / c/ veAned e66o6s
             ZTl r/ Fa4auAe / l oc4d eQca4moc66egr/ ne6                         x oc Aau / nov nl e acnoi anrA dedcAnrou of nl e Mruri ci Pami eunf6oi moc Al eAwrug aAAocunrf
              Fa4auAe                                            q              moc nl ruwmoc6/ nanei eunr/ ) 6ougsTo / nov nl e vami eunbmoc64enne6i c/ n6eaAl c/ nl 6ee K9(
                                                                                Fc/ rue/ / dam/ Fefo6e nl e acnoi anrA dedcAnrou r/ / Al edc4ed no oAAc6s
               If rndoe/ uonag6eeb/ ee / nev/ Fe4o)        $     q
                                                                                Reporting Other ProWlev s
   If moc6aAAocundoe/ uonFa4auAeb6e8re) nl e fo44o) rugt                        P4ea/ e 6e8re) moc6/ nanei eunAa6efc44msInr/ e/ / eunra4nl anaumaAAocune66o6/ o6aumri v6ove6
   · Cl eAwa44moc6addrnrou aud / cFn6aAnrou aFo8e ru moc66egr/ ne6s             n6au/ aAnrou/ ou moc6aAAocunFe 6evo6ned no c/ a/ / oou a/ 6ea/ ouaF4mvo/ / rF4esIf moc far4no
   · Mawe / c6e moc 6ei ei Fe6ed no / cFn6aAn/ e68rAe Al a6ge/ 4r/ ned ou       uonrfmc/ of aum/ c/ veAned v6oF4ei / be66o6/ o6cuacnl o6rzed n6au/ aAnrou/ ) rnl ru nl e nri e ve6rod/
     nl r/ / nanei eunaud add aumrune6e/ nea6ued no moc66egr/ ne6s              / veArfred ru nl e devo/ rnaAAocunag6eei eunb) e a6e uon4raF4e no moc fo6aum4o/ / 6e4aned no nl e
   · y i ocun/ of devo/ rn/ aud ) rnl d6a) a4/ ou nl r/ / nanei eun/ l oc4d     v6oF4ei be66o6o6cuacnl o6rzed n6au/ aAnrous
     i anAl moc66egr/ ne6eun6re/ s
   · If moc l a8e Qce/ nrou/ o6ueed a/ / r/ nauAebv4ea/ e 6efe6no nl e vl oue   : : Wy Coi va/ / r/ a n6ade uai e of Coi va/ / : auwba i ei Fe6of nl e : : Wy G6ocvs
     uci Fe6ou nl e f6ounof nl r/ / nanei euns                                  Coi va/ / : auwbMei Fe6k DICs




CONFIDENTIAL                                                                                                                                                  D-HCRE-000090
                                                                                                                                                           Appx. 02579
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                            EXHIBIT 155




                                                                    Appx. 02580
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   Page 1 of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                H1




              21      I GL I NADC T APGMAN S ADAL dS dDM NP
                      S ARMdO F Pd OAMGDL ATTF UDM
                      H00 TOdRTdDM T M RMd 300
                      CANNAR M7 3X201E3- 56




                                                                                    Contacting Us
                                                                                    A8ai4ab4e by vl one 25p3
   h our BB/ A T omvass Account.sW                                           Pl one 1E- 00E2VVE3233

   P4ease see imvortant message regar9ing your                               F n4ine bb8acomvassxcom
   MOd ARUOh S ADAL d S d DMADANh RG    R T I d T YG
                                                   DL                        K rite BB/ A T omvass
   account                                                                          T ustomer Rer8ice
                                                                                    PxF xBo( 10XVV
                                                                                    Birmingl am, AN HX26V


   Rummary of Accounts
   Deposit Accounts/ Other Products
                                                                                d n9ing ba4ance     d n9ing ba4ance
   Account                                                 Account number         4ast statement      tl is statement
   MOd ARUOh S ADAL d S d DMADANh RG
                                   R T I d T YGDL

   Total Deposit Accounts




CONFIDENTIAL                                                                                                        D-HCRE-000091
                                                                                                                 Appx. 02581
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   Page 2 of 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                       H1




   MOd ARUOh S ADAL d S d DMADANh RGR T I d T YG
                                               DL
   Account Dumber:                    EI G
                                         L I NADC T APGMAN S ADAL d S d DMNP


   Account Information
   K e l a8e uv9ate9 tl e Mreasury S anagement Rer8ice AgreementxMl ese terms an9
   con9itions ) i44become effecti8e as of Do8ember H0, 201- x h ou can fin9 a current 8ersion
   of tl e agreement by going to:
   l ttv:pp) ) ) xbb8acomvassxcompcommercia4ptreasuryEmanagementpresourceEcentra4p

   Ml e user G
             C is wtreasurywan9 tl e vass) or9 is wmanagementxw




   Activity Summary
   Beginning Ba4ance on 10p1p1-

   CevositspT re9its .22W

   K itl 9ra) a4spCebits .1V3W

   Ending Balance on 10/31/18



   Deposits and Other Credits
                 T l ec“ p                                                          Cevositsp
   Cate ”        Reria4$         Cescrivtion                                         T re9its




CONFIDENTIAL                                                                                          D-HCRE-000092
                                                                                                   Appx. 02582
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   Page Hof 6
   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-                                    H1




                 T l ec“ p                                                                                               Cevositsp
   Cate ”        Reria4$        Cescrivtion                                                                               T re9its




   P4ease note, certain fees an9 cl arges voste9 to your account may re4ate to ser8ices an9por acti8ity from tl e vrior statement cyc4ex
   ” Ml e Cate vro8i9e9 is tl e business 9ay tl at tl e transaction is vrocesse9x



   Withdrawals and Other Debits
                 T l ec“ p                                                                                                                 K itl 9ra) a4sp
   Cate ”        Reria4$        Cescrivtion                                                                                                        Cebits




                                66665




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                                                                                                                                                     Appx. 02583
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   Primary Account:
   Beginning F ctober 1, 201- Ed n9ing F ctober H1, 201-   H1




               T l ec“ p                                                  K itl 9ra) a4sp
   Cate ”      Reria4$      Cescrivtion                                           Cebits




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                                                                                    Appx. 02584
